Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 1 of 65 PageID: 55493




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON TALCUM Civil Action No. 3:16-md-
    POWDER PRODUCTS MARKETING,      2738-FLW-LHG
    SALES PRACTICES, AND PRODUCTS
    LIABILITY LITIGATION            MDL No. 2738


    THIS DOCUMENT RELATES TO ALL
    CASES



     THE PLAINTIFFS’ STEERING COMMITTEE’S MEMORANDUM OF
    LAW IN RESPONSE AND OPPOSITION TO DEFENDANTS JOHNSON&
    JOHNSON AND JOHNSON & JOHNSON CONSUMER INC.’S MOTION
          TO EXCLUDE EXPERT OPINIONS OF GHASSAN SAED
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 2 of 65 PageID: 55494




                                               TABLE OF CONTENTS
   TABLE OF CONTENTS...…………………………………………………………ii
   TABLE OF AUTHORITIES………………………………………………………iv
   I.        BACKGROUND .............................................................................................2
        A. DR. GHASSAN SAED .....................................................................................2
        B. DR. SAED’S RESEARCH ...............................................................................4
          1. Dr. Saed’s Budget Document ........................................................................5
          2. Dr. Saed’s experiment and methodologies....................................................8
        C. PUBLICATION OF DR. SAED’S WORK ....................................................13
        D. DR. SAED’S EXPERT REPORT ..................................................................15
   II.       ARGUMENT ................................................................................................17
        A. THE METHODOLOGIES EMPLOYED BY DR. SAED IN CONDUCTING
           HIS EXPERIMENT ARE RELIABLE AND SATISFY DAUBERT
           STANDARDS .................................................................................................18
          1. Dr. Saed’s experiment and opinions are not “made-for-litigation” ............22
          2. Dr. Saed did not predetermine the conclusions he expected to reach .........26
          3. The methods followed by Dr. Saed were sound and his causal conclusions
             are a direct product of his sound methodology ...........................................28
          4. Defendants’ Dose Response Arguments Are Inapplicable To Tests
             Regarding Molecular Mechanism ...............................................................31
          5. Dr. Saed utilized appropriate and valid controls .........................................34
          6. Dr. Saed’s use of multiple cell lines and multiple dose treatments across
             each cell line undercuts Defendants’ arguments regarding reproducibility
             .....................................................................................................................37
          7. The cell lines utilized by Dr. Saed were appropriate and fit within his
             methodology ................................................................................................39
          8. The results from SNP data are consistent with experimental methods and
             are reliable ...................................................................................................41
          9. Any errors identified in Dr. Saed’s lab notebooks were inadvertent,
             non-substantive in nature, and do not affect the veracity or accuracy of the
             findings ........................................................................................................44
                                                                  ii
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 3 of 65 PageID: 55495




     B. DATA FROM DR. SAED’S EXPERIMENT ARE VALID AND
        REPRESENT A PIECE OF THE BIOLOGIC PLAUSIBILITY
        PUZZLE ..........................................................................................................47
     C. DEFENDANTS’ ARGUMENT THAT THE PEER-REVIEW PROCESS
        SURROUNDING DR. SAED’S MANUSCRIPT WARRANTS
        EXCLUSION IS MISPLACED......................................................................50
     1. Dr. Saed’s Conflict Disclosures Met All Necessary Disclosure
        Requirements ..................................................................................................51
     2. The review of Dr. Saed’s work by Gynecologic Oncology does not warrant
        exclusion .........................................................................................................53
   III. CONCLUSION .............................................................................................55




                                                              iii
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 4 of 65 PageID: 55496




                                          TABLE OF AUTHORITIES
   Cases
   Amorgianos v. Nat'l R.R. Passenger Corp.,
          303 F.3d 256 (2d Cir. 2002) ..........................................................................31
   Avon Prod., Inc. v. S.C. Johnson & Son, Inc.,
          984 F. Supp. 768, 787 (S.D.N.Y. 1997) ........................................................39
   Beech Aircraft Corp. v. Rainey,
          488 153, 1969 (1988).....................................................................................47
   Bourne ex rel. Bourne v. E.I. Dupont de Nemours & Co.,
          189 F. Supp. 2d 482, 495 (S.D.W. Va. 2002) ............................ 31, 33, 40, 47
   Claar v. Burlington N. R. Co.,
          29 F.3d 499, 503 (9th Cir. 1994) ............................................................ 26, 28
   Daubert v. Merrell Dow Pharm., Inc.,
          43 F.3d 1311, 1318 (9th Cir. 1995) (Daubert II) ..........................................47
   Daubert v. Merrell Dow Pharm., Inc.,
          509 U.S. 579 (1983).................................................................... 17, 18, 46, 47
   Elcock v. Kmart Corp.,
          233 F.3d 734, 746 (3d Cir. 2000) ..................................................................19
   Heller v. Shaw Indus., Inc.,
          167 F.3d 146, 152 (3d Cir. 1999) ........................................................... 19, 20
   In re Actos (Pioglitazone) Prod. Liab. Litig.,
          2014 WL 60384, at *8 (W.D. La. Jan. 7, 2014) ............................................50
   In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab.
          Litig.,
          No. MDL 1203, 2000 U.S. Dist. LEXIS 9661, at *26 (E.D. Pa. June 28,
          2000) ..............................................................................................................32
   In re Garlock Sealing Techs., LLC,
          504 B.R. 71, 79 (Bankr. W.D.N.C. 2014) .....................................................52
   In re Human Tissue Prod. Liab. Litig.,
          582 F. Supp. 2d 644, 663 (D.N.J. 2008) ........................................................47
   In re Mirena Ius Levonorgestrel-Related Prod. Liab. Litig. (No. II),
          341 F. Supp. 3d 213 (S.D.N.Y. 2018) ...........................................................37
   In re Opus E., LLC,
          528 B.R. 30, 55 (Bankr. D. Del. 2015) ..........................................................25
   In re Paoli R.R. Yard PCB Litig.,
          35 F.3d 717, 744 (3d Cir. 1994) ....................................................... 18, 20, 46

                                                                iv
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 5 of 65 PageID: 55497




   In re Rezulin Prod. Liab. Litig.,
          369 F. Supp. 2d 398, 428–429 (S.D.N.Y. 2005) .................................... 40, 41
   In re Urethane Antitrust Litig.,
          166 F. Supp. 3d 501 (D.N.J. 2016) ................................................................50
   In re Zoloft (Sertraline Hydrochloride) Prod. Liab. Litig.,
          858 F.3d 787, 798 (3d Cir. 2017) ..................................................................28
   In re Zoloft (Sertraline Hydrocloride) Prod. Liab. Litig.,
          26 F. Supp. 3d 466, 478 (E.D. Pa. 2014) .......................................................31
   In re: Tylenol (Acetaminophen) Mktg., Sales Practices, & Prod. Liab. Litig.,
          No. 2436, 2016 WL 4039286, at *2 (E.D. Pa. July 28, 2016) ......................50
   JVI, Inc. v. Truckform Inc.,
          No. CIV. 11-6218 FLW, 2012 WL 6708169, at *4 (D.N.J. Dec. 26, 2012) .17
   Kannankeril v. Terminix Int'l, Inc.,
          128 F.3d 802, 807 (3d Cir. 1997) ..................................................... 49, 50, 52
   Koch v. Shell Oil Co.,
          49 F. Supp. 2d 1262, 1268 (D. Kan. 1999) ...................................................39
   Kumho Tire Co. v. Carmichael,
          526 U.S. 137, 153, 119 S. Ct. 1167, 143 L. Ed. 2d 238 (1999) ....................50
   Louis Vitton Malletier v. Dooney & Burke,
          525 F. Supp. 2d 558 (S.D.N.Y. 2007) ...........................................................46
   Mancuso v. Consol. Edison Co. of New York,
          56 F. Supp. 2d 391, 403 (S.D.N.Y. 1999) .............................................. 37, 40
   Milward v. Acuity Specialty Prod. Grp., Inc.,
          639 F.3d 11, 15 (1st Cir. 2011)......................................................................49
   Oddi v. Ford Motor Co.,
          234 F.3d 136, 145–46 (3d Cir. 2000) ............................................................19
   Pineda v. Ford Motor Co.,
          520 F.3d 237, 247 (3d Cir. 2008) ..................................................................19
   Rovid v. Graco Children’s Prods., Inc.,
          17-cv-015606-PJH, 2018 U.S. Dist. LEXIS 192449, at *14 (N.D. Cal. Nov.
          9, 2018) ..........................................................................................................39
   Schneider ex rel. Estate of Schneider v. Fried,
          320 F.3d 396, 405 (3d Cir. 2003) ..................................................................19
   Snodgrass v. Ford Motor Co.,
          No. 96-1814 (JBS), 2002 U.S. Dist LEXIS 13421, at *43 (D.N.J. Mar. 28,
          2002) ..............................................................................................................28
   Soldo v. Sandoz Pharm. Corp.,

                                                                v
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 6 of 65 PageID: 55498




         244 F. Supp. 2d 434 (W.D. Pa. 2003) ...........................................................31
   United States v. Mitchell,
         365 F.3d 215, 244–45 (3d Cir. 2004) ............................................................50
   United States v. Velasquez,
         64 F.3d 844, 849–50 (3d Cir. 1995) ..............................................................20
   Wade-Greaux v. Whitehall Labs., Inc.,
         874 F. Supp. 1441, 1460 (D.V.I. 1994) ................................................. passim
   Wessmann v. Gittens, 160 F.3d 790 (1st Cir. 1998) .................................................49
   Other Authorities
   Akhtar, MJ, et al., Cytotoxicity and Apoptosis Induction by Nanoscale Talc
        Particles from Two Different Geographical Regions in Human Lung
        Epithelial Cells, Environ. Tech. (2012).................................................. 24, 36

   Akhtar, MJ, et al., The Primary role of iron-mediated lipid peroxidation in the
        differential cytotoxicity cause by two varieties of talc nanoparticles on cells
        and lipid peroxidation inhibitory effect exerted by ascorbic acid,
        Toxicology, 24, 1139-1147 (2010) ......................................................... 24, 36

   Anglesio, M.S. et al., Type-specific cell line models for type-specific ovarian
        cancer research. PloS One 8, e72162 (2013).................................................9

   Beaufort, C.M. et al., Ovarian cancer cell line panel (OCCP): clinical importance
        of in vitro morphological subtypes. PloS One 9, e103988 (2014) ..................9

   Buz’Zard, A, Pycnogenol reduces Talc-induced Neoplastic Transformation in
        Human Ovarian Cell Cultures, Phytother. Res. 21, 579-586 (2007) ..... 24, 36

   Fletcher, N., et al., Molecular Basis Supporting the Association of Talcum Powder
         Use With Increased Risk of Ovarian Cancer, Reprod. Sci., Feb. 2019 ..........3

   Fletcher, N., Talcum Powder Enhances Cancer Antigen 125 Levels in Ovarian
         Cancer Cells and in Normal Ovarian Epithelial Cells .................................14

   Fletcher, N., Talcum Powder Enhances Oxidative Stress in Ovarian Cancer Cells,
         Reproductive Sciences, March 1, 2018..........................................................13

   Mossman BT, Mechanistic in vitro studies: What they have told us about
        carcinogenic properties of elongated mineral particles (EMPs). Toxicol.
        Appl. Pharmacol., 2018 Dec. 15; 361:62-67 .................................................33
                                                      vi
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 7 of 65 PageID: 55499




   Reference Manual on Scientific Evidence,
   Fed. Judicial Ctr., 592 (3d ed. 2011) .......................................................... 33, 41, 48

   Shukla, A., et al., Alterations in Gene Expression in Human Mesothelial Cells
         Correlate with Mineral Pathogenicity, Am J Respir Cell Mol Biol, 41, 114-
         123 (2009) ............................................................................................... 21, 36

   Vang, R., Shih, I.M. & Kurman, R.J., Fallopian tube precursors of ovarian low
         and high grade serous neoplasms. Histopathology 62, 44-58 (2013) ............9

   Rules
   Fed. R. Evid. 702 .............................................................................................. 17, 18




                                                            vii
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 8 of 65 PageID: 55500




         The Plaintiffs’ Steering Committee (“PSC”) submits this memorandum of law

   in opposition to Defendants Johnson & Johnson and Johnson & Johnson Consumer

   Inc.’s Motion to Exclude Expert Opinions of Ghassan Saed. 1                   Faced with

   compelling, peer-reviewed evidence that it is biologically plausible for their Talcum

   Powder Products to induce inflammation and alter the redox balance favoring a pro-

   oxidant state in normal ovarian epithelial cells that can cause ovarian cancer,

   Defendants attack not only the work, but the reputation and integrity of a respected

   scientist who has researched and investigated the role of oxidative stress in the

   pathogenesis of ovarian cancer for nearly 30 years. Defendants’ “no-holds-barred”

   approach and steps taken to discredit Dr. Saed and his work underscore not only the

   relevance but the significance of his findings to the present litigation. 2

         Whether fueled through ignorance or malicious intent, Defendants project an

   erroneous picture of the recent research conducted by Dr. Saed and his opinions

   offered in this litigation, opinions which are grounded not only in his published

   manuscript, but decades of focus on the issue of oxidative stress in the pathogenesis

   1
      Defendants Johnson & Johnson and Johnson & Johnson Consumer Inc.’s
   Memorandum of Law in Support of Motion to Exclude Expert Opinions of Ghassan
   Saed is referred to herein as “Defs. Mem. at __.”
   2
     The baseless assertion of “downright fraud” (Defs. Mem. at 2) exemplifies the lack
   of professionalism and absence of proper advocacy that has come to be expected
   from opposing counsel. So too do statements by Defendants that Plaintiffs’ counsels’
   claims of privilege over e-mails exchanged with Dr. Saed infer that counsel was
   involved in the design, conduct and drafting of the experiments. (Defs. Mem. at 9,
   fn. 23).
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 9 of 65 PageID: 55501




   of ovarian cancer. Even Defendants’ own experts acknowledge that Dr. Saed is a

   recognized expert in the field, 3 having authored over 130 peer-reviewed and

   published studies in his area of expertise.

             This Court should see through Defendants’ brutal efforts to undermine the

   work of Dr. Saed and deny the motion to exclude his testimony.



   I.        BACKGROUND

             A.    DR. GHASSAN SAED

             Dr. Ghassan Saed is an Associate Professor with tenure at Wayne State

   University where he is the Director of Ovarian Cancer Research. 4 He is a faculty

   member in the Departments of Obstetrics & Gynecology, Cell Biology, and

   Anatomy & Physiology at Wayne State School of Medicine, and is a Member of the

   Karmanos Cancer Institute, Molecular Biology and Genetics Program. 5 As the

   Director of Ovarian Cancer Research, Dr. Saed’s laboratory investigates the role of

   oxidative stress in the pathogenesis of ovarian cancer. His research in ovarian cancer


   3
     See March 29, 2019 deposition of Michael Birrer, M.D., Ph.D. (“Birrer Dep.”) at
   394:1-17; 311:11-312:2 (testifying that authors of review articles in reputable
   journals are felt to be experts in the field, and that Dr. Saed’s research over his career
   has addressed the role of oxidative stress and gene amplification in gynecological
   tumors), excerpts of which are attached hereto as Exhibit A.
   4
    See November 16, 2018 Rule 26 Expert Report of Dr. Ghassan M. Saed (“Saed
   Report”) at 2, attached hereto as Exhibit B.
   5
       Id.

                                               2
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 10 of 65 PageID: 55502




    has resulted in the identification of biomarkers for assessing the progression and

    metastasis of ovarian cancer. 6

              Dr. Saed has been the recipient of national, peer-reviewed and international

    grants and contracts from prestigious organizations and he has been a prolific

    publisher and presenter at scientific meetings. He has been an author on more than

    130 original studies published in peer-reviewed journals in addition to writing

    review articles and book chapters. 7 Dr. Saed recently published a review article in

    the journal Gynecologic Oncology titled “Updates of the role of oxidative stress in

    the pathogenesis of ovarian cancer.” 8 In addition, as of February 28, 2019, Dr.

    Saed’s research related to talcum powder products, inflammation and oxidative

    stress has been peer-reviewed and published in Reproductive Sciences, a publication

    of The Society for Reproductive Investigation, that publishes original research and

    reviews, editorials, and position papers in all aspects of reproductive biology and its

    translation to clinical medicine, including the discipline of gynecologic/reproductive

    tract oncology. 9 As Dr. Saed has stated, this is what he has done “for the last 30




    6
        Id.
    7
        Id. at 3.
    8
        Id.
    9
      See Fletcher, N., et al., Molecular Basis Supporting the Association of Talcum
    Powder Use With Increased Risk of Ovarian Cancer, Reprod. Sci., Feb. 2019
    (hereinafter “Saed Publication”), attached hereto as Exhibit C. See also January 23,
                                                3
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 11 of 65 PageID: 55503




    years, ovarian cancer, oxidative stress, and inflammation.” 10 Dr. Saed’s “specialty

    is anything that induces inflammation and oxidative stress that is linked to ovarian

    cancer.” 11

             As reflected above, in his curriculum vitae, and his publication record, Dr.

    Saed is an established translational researcher, and his research interest currently

    focuses on the identification of biomarkers for the early detection of ovarian cancer,

    and the characterization of novel therapeutic targets for the treatment of ovarian

    cancer. Dr. Saed and his staff would be expected to, and do have the expertise and

    experience to conduct the experiments that form the basis of his talcum powder

    research and opinions offered in this case.

                    B.    DR. SAED’S RESEARCH

             Dr. Saed was contacted by the PSC in and around August of 2017. 12 Dr. Saed

    did not have a relationship with the PSC at that time and he was asked about “the

    possibility of acting as a witness expert in ovarian cancer inflammation and oxidative




    2019 Deposition of Ghassan Saed, Ph.D., Exhibit 12 (Sage Publishing website
    printout), attached hereto as Exhibit D.
    10
      See January 23, 2019 and February 14, 2019 Depositions of Ghassan Saed, Ph.D.
    (“Saed Dep.”) at 27:4-6, excerpts of which are attached hereto as Exhibit E.
    11
       Id. at 27:10-11; 30:11-13 (“anything that causes inflammation, redox imbalance,
    is linked to increased risk of ovarian cancer. This is the core of my work.”).
    12
         Id. at 25:2-4.

                                               4
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 12 of 65 PageID: 55504




    stress.” 13 Dr. Saed agreed in principle “to serve as a consultant for what [he] is an

    expert in, which is oxidative stress and ovarian cancer, and [he] promised to run data,

    do some work, because [he] wanted to find out if there is molecular evidence to

    support the effect of talcum powder on the markers [he] stud[ies].” 14 As Dr. Saed

    testified, as routinely done in his lab, he “ran a pilot experiment using PCR, using

    single dose, and when we saw the data and we saw that there’s a biological effect,

    then we had a plan of what to do, and which is the whole study.” 15

                          1.        Dr. Saed’s Budget Document

             Dr. Saed prepared a budget document entitled “The role of talc powder

    exposure in ovarian cancer: mechanistic approach” in order to estimate how much

    the project would cost him if he wanted to do it.” 16 The Budget Document was not

    prepared for anyone other than himself, for his lab. It represented his plan, his

    thinking. 17 Dr. Saed prepared a budget document because the costs of the

    experiments would ultimately be borne by his lab. The work done by Dr. Saed on

    the talc project was not paid for by the PSC. As Dr. Saed explained, his lab is



    13
         Id. at 25:11-17; 27:3-6.
    14
         Id. at 276:15-20 (emphasis added).
    15
         Id. at 137:21-138:1.
    16
      See The role of talc powder exposure in ovarian cancer: mechanistic approach
    (“budget document”), attached hereto as Exhibit F.
    17
         Saed Dep. at 497:6-498:6.

                                                5
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 13 of 65 PageID: 55505




    provided funds from his department in the form of an account. Those funds covered

    the costs of “all of the personnel, lab supplies, equipment, services, [and] costs for

    this project.” 18 The PSC was responsible only for the additional time outside of his

    normal laboratory practice that Dr. Saed worked – overtime, weekends, etc. 19 The

    aforementioned is significant because Defendants incorrectly imply that Dr. Saed

    was told by the PSC not to perform certain tests, refusing to accept that Dr. Saed’s

    lab work was independent. 20

               The Budget Document prepared by Dr. Saed contained three specific Aims:

               • Determine the effect of talc on the redox balance in normal ovarian
                 surface epithelial and ovarian cancer cells;

               • Determine whether exposure to talc can induce point mutations that
                 correspond to known SNPs in key oxidant and antioxidant enzymes
                 as well as BRCA1/2, in normal ovarian surface epithelial and
                 ovarian cancer cells; and,

               • Exposure to talc results in neoplastic transformation of normal
                 ovarian surface epithelial cells. 21

               For each of the three Aims Dr. Saed identified a testable hypothesis – a

    tentative answer to the scientific questions. Although Defendants incorrectly label

    the testable hypotheses as “an express and emphatic expectation,” 22 only testable


    18
         Id. at 39:4-40:5.
    19
         Id.
    20
         See Defs. Mem. at 8, fn. 17.
    21
         See Budget Document at 2-3 (emphasis omitted).
    22
         Defs. Mem. at 6 (emphasis omitted).

                                                6
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 14 of 65 PageID: 55506




    hypotheses can be used to conceive and perform an experiment using the scientific

    method. 23

             Although the budget document listed a multitude of tests, there was not a need

    to conduct all of them. “I mean, they’re all the same. If you do one, so maybe

    enough to do – you don’t have to do all the oxidated stress marker. You can pick

    most key one.” 24 For example, Dr. Saed testified that “[i]t’s a practice in our lab that

    we use pro-oxidant as myeloperoxidase, iNOS, nitrite, nitrate, and anti-oxidant as

    SOD, catalase, and glutathiones. So just a normal – it’s a – it’s a – a practice that

    we use in the lab. 25 Similarly, in regard to Aim II, although Dr. Saed listed BRCA1

    and BRCA2 testing as possible tests, it was not necessary to do it. Those tests can

    provide clinical value when interpreting data using patients with and without

    BRCA1, but they are not oxidative stress markers. 26 The same held true for Aim III




    23
      Defendants also incorrectly state that Dr. Saed stated that the “goal was to show
    that treating cells with talc would cause changes in the balance of certain reactive
    oxygen species” (Defs. Mem. at 1), implying that Dr. Saed set out with a
    predetermined outcome. However, Defendants fail to provide any citation for their
    proposition. Instead, Dr. Saed stated that the “objective is to determine whether talc
    can induce such mutations…” See Budget Document at 1 (emphasis added).
    24
         Saed Dep. at 498:23-499:1.
    25
         Id. at 499:22-500:1.
    26
         Id. at 501:14-502:12.

                                                7
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 15 of 65 PageID: 55507




    where Dr. Saed did apoptosis and proliferation analysis to look at neoplastic

    transformation, but did not prepare a neoplastic transformation assay. 27

                    2.     Dr. Saed’s experiment and methodologies

             Dr. Saed undertook his research by employing well known methodologies

    with which he and his laboratory have expertise. 28 As Dr. Saed testified, the tests

    that formed the foundation of his research are routinely done in his lab, “and we are

    testing the markers that [we’ve] been extensively publishing on and testing through

    the lab… The methodology is in place, it’s in the lab, it’s been published, it’s been

    referenced, and we test the same markers over and over.” 29 Defendants’ experts

    confirmed that the methods employed by Dr. Saed have been previously peer-

    reviewed and published. 30

             Dr. Saed examined the effect of talcum powder exposure on both normal and

    ovarian cancer cell lines. All cell lines used in the research were commercially

    available and the kind used routinely in in vitro experiments. For the non-cancerous

    cells Dr. Saed utilized two human ovarian epithelial cell cultures and the




    27
         Id. at 503:6-504:3.
    28
         Id. at 499:2-5.
    29
         Id. at 137:21-138:18.
    30
       See Birrer Dep. at 359:18-361:5 (confirming that not only the dosages but the
    testing used by Dr. Saed’s testing has been peer-reviewed and published).

                                              8
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 16 of 65 PageID: 55508




    immortalized human fallopian tube epithelial cells (FT22). 31 These cell lines reflect

    normal ovarian surface epithelial cells and fallopian tube epithelial cells. These are

    the physiological cell populations from which ovarian cancer is believed to

    originate 32 and the molecular pathways involved in disease initiation can be

    investigated in these cells.

             Dr. Saed also examined the response of transformed ovarian cancer cell lines,

    SKOV3, A2780 and TOV112D to talcum powder exposure. 33 Using these tumor cell

    lines Dr. Saed is able to evaluate the role of direct talcum powder exposure on

    disease progression. 34 A normal macrophage cell line was used as a non-epithelial

    cell control, and represents a cell type (macrophage) in which oxidative stress

    responses and signaling pathways have previously been well delineated. 35

             All of the techniques used by Dr. Saed are broadly used and scientifically

    valid. He used commercially available ELISAs to measure redox protein levels and



    31
         See Saed Publication at 2.
    32
      Defendants’ experts’ publications support this. See Vang, R., Shih, I.M. &
    Kurman, R.J., Fallopian tube precursors of ovarian low and high grade serous
    neoplasms. Histopathology 62, 44-58 (2013).
    33
         See Saed Publication at 2.
    34
      See Anglesio, M.S. et al., Type-specific cell line models for type-specific ovarian
    cancer research. PloS One 8, e72162 (2013). See also Beaufort, C.M. et al., Ovarian
    cancer cell line panel (OCCP): clinical importance of in vitro morphological
    subtypes. PloS One 9, e103988 (2014).
    35
         See Saed Publication at 2.

                                               9
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 17 of 65 PageID: 55509




    enzyme activities; the Greiss assay to measure nitrate/nitrite levels; RT-PCR to

    quantify RNA expression using redox gene specific primers; MTT assay for cell

    viability; Caspase 3 assays to measure apoptosis and programmed cell death and

    Taqman-SNP genotyping to identify DNA point mutations induced by talcum

    powder treatment. 36 The effects of talcum powder were examined across 6 cell lines

    per assay and samples were assayed in triplicate, which is common laboratory

    practice. 37

               Dr.     Saed   maintained   the   laboratory   notebooks   for   his   research

    contemporaneously and in accordance with standard laboratory practices. 38 All data

    was collected, analyzed, and recorded according to standard laboratory procedures. 39

    To the extent data was created electronically, it was printed and placed into the lab


    36
         Id. at 2-3.
    37
         Id.
    38
       Defendants’ assertions that the lab notebooks were not maintained
    contemporaneously are purely speculative and not supported by the record.
    39
       Defendants improperly assert that the lab notebooks document “difficulties” and
    “trouble” encountered by Dr. Saed. (Defs. Mem. at 8). Instead, the lab notebooks
    document the scientific results of the experiments. For example, nowhere in the
    record is there evidence that Dr. Saed had “trouble” dissolving talc in DMSO. The
    lab notebook simply notes that “it won’t completely dissolve.” See Saed Dep.
    Exhibit 23 (“Pilot Study Notebook”) at 1, attached hereto as Exhibit G. Nor was it
    a “difficulty” that the talc at 1000 ug/ml was “physically killing the cells.” Id. at 19.
    As Dr. Saed testified, “[p]hysically killing some cells, that doesn’t mean you cannot
    get RNA, you cannot get to do the assay. That doesn’t – it’s not the optimal
    condition, but you still can do the experiment, okay. And to confirm that, when we
    did it with the lower dose, we got the results.” See Saed Dep. at 392:10-23.

                                                  10
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 18 of 65 PageID: 55510




    notebook pursuant to standard laboratory practices. 40 All data recorded in the lab

    notebooks and submitted for peer review and publication was accurate. To the extent

    errors in the lab notebooks did occur, the errors were inadvertent, non-substantive in

    nature, and do not affect the veracity or accuracy of the findings. The purported

    deficits in the lab notebooks identified by Defendants had nothing to do with

    methodology, data reporting, or conclusions reached and published in manuscript.

    All relevant portions of the lab notebooks have been provided to Defendants 41 and,

    although Defendants state that “the record is conflicting on exactly how Dr. Saed

    conducted his experiment” 42 their memorandum provides a succinct narrative of the

    work he did. 43 Further, not a single peer reviewer raised concern with the


    40
      Dr. Saed testified that most of the work that is done now is done electronically so,
    just to keep a record in case something happens to the electronic version, the
    information is printed out and pasted in the lab notebooks. See Saed Dep. at 114:22-
    115:1.
    41
       In addition to Pilot Study Notebook Pages, see also Saed Dep. Exhibits 1 and 9,
    attached hereto as Exhibits H (“Publication Data”) and I (“Preliminary Study”),
    respectively.
    42
         Defs. Mem. at 9.
    43
      See Deft. Mem. at 9-12. On May 23, 2019, following an in camera review of non-
    relevant portions of Dr. Saed’s lab notebooks, Judge Pisano ruled that Dr. Saed did
    not have to produce certain sections previously sought by Defendants. Judge
    Pisano’s Order resolved in the PSC’s favor an appeal of Judge Pisano’s April 26,
    2019 opinion wherein the PSC had challenged the factual findings related to Dr.
    Saed’s notebooks and testimony. Judge Pisano’s Order also confirms the arguments
    raised by Plaintiffs’ counsel in prior submissions – that Defendants’ efforts were
    simply meant to harass Dr. Saed – and stand as a further example of Defendants’
    questionable litigation tactics.

                                             11
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 19 of 65 PageID: 55511




    methodologies employed by Dr. Saed and his lab. As Dr. Birrer testified, the peer

    reviewers did not raise concerns about flaws in the experiments, analysis, or

    results. 44 As confirmed by Dr. Birrer, reviewers did not find inaccuracies in cell line

    findings, did not state issues with the cell lines that were used, and did not state that

    dosages were in appropriate. 45

             Through his experiment Dr. Saed was able to convincingly demonstrate the

    disruptive effects of talc exposure on redox balance in normal ovarian and fallopian

    tube epithelial cells, as well as ovarian cancer cell lines. “Talc induces inflammation

    and alters the redox balance favoring a prooxidant state in normal and EOC cells.” 46

    Furthermore, talc exposure induced genetic mutations in enzymes regulating the

    oxidative state, favoring a state of oxidative stress. 47 Cells further exhibited an

    increase in proliferative rate and viability, and a resistance to apoptosis, which are

    characteristic of cellular formation. 48




    44
         See Birrer Dep. at 350:19-352:3.
    45
         Id. at 352:9-17.
    46
         Saed Publication at 9.
    47
      Id. (“[o]ur results confirm an increase in iNOS expression and enzymatic activity
    in all talc-treated cells… again suggesting the existence of other NOS2 SNPs.”).
    48
       Id. at 7 (“we have shown that talc enhances cell proliferation and induces an
    inhibition in apoptosis in EOC cells, but more importantly in normal cells,
    suggesting talc is a stimulus to the development of the oncogenic phenotype.”).

                                               12
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 20 of 65 PageID: 55512




          Taken together, the data presented in Dr. Saed’s publication indicates that the

    presence of talcum powder would create conditions which would increase the risk

    of cellular transformation of normal cells in the ovaries and fallopian tubes, and

    could be reasonably expected to contribute to the initiation and pathogenesis of

    ovarian cancer.

          C.     PUBLICATION OF DR. SAED’S WORK

          Dr. Saed’s preliminary findings were accepted for publication as an abstract

    by Reproductive Sciences in March 2018. The results of his work, as outlined in the

    abstract, showed that “[t]here was a marked increase in MRNA levels of the

    prooxidant enzymes iNOS and MPO in the talc treated ovarian cancer cell lines and

    normal ovarian epithelial cells, all as compared to their control… Additionally, there

    was a marked decrease in the mRNA levels of the antioxidant ezymes CAT, GPX,

    SOD3, but with a marked increase in GSR.” 49 Prior to the abstract being accepted,

    it would have been reviewed “by 4-6 expert reviewers [and] scored according to

    criteria.” 50 The portion of Dr. Saed’s experiment related to CA-125 levels was also

    presented as a poster at the Society for Reproductive Investigation’s (“SRI”) 65th




    49
      See Fletcher, N., Talcum Powder Enhances Oxidative Stress in Ovarian Cancer
    Cells, Reproductive Sciences, March 1, 2018, attached hereto as Exhibit J.
    50
      See Society of Reproductive Investigation, General Abstract Information, SRI
    2018 Annual Meeting, attached hereto as Exhibit K.

                                             13
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 21 of 65 PageID: 55513




    Annual Scientific Meeting in March, 2018. 51 Dr. Saed’s work would have been

    subject to peer-review prior to his poster presentation as well.

          In August 2018, Dr. Saed submitted his final manuscript for consideration to

    Gynecologic Oncology. On September 19, 2018, Dr. Saed was informed that the

    manuscript was not accepted for publication. The e-mail acknowledged that Dr.

    Saed’s work was reviewed by at least two more experts and “while [his] work was

    not without merit,” it was not accepted.” 52 After his manuscript was not accepted for

    publication, Dr. Saed submitted it to Reproductive Sciences for peer-review and

    possible publication, and also submitted it to SRI for consideration as a meeting

    abstract. 53 In each of these instances Dr. Saed’s work would have again been subject

    to peer-review.

          On November 15, 2018, Dr. Saed’s abstract relating to SNPs findings was

    accepted by the Society of Gynecologic Oncology (“SGO”) for presentation as a




    51
     See Fletcher, N., Talcum Powder Enhances Cancer Antigen 125 Levels in Ovarian
    Cancer Cells and in Normal Ovarian Epithelial Cells, attached hereto as Exhibit L.
    52
      See September 19, 2018 e-mail to Dr. Ghassan Saed from Robert E. Bristow, MD,
    Editor, Gynecologic Oncology, attached hereto as Exhibit M.
    53
      See October 10, 2018 Reproductive Sciences manuscript submission, attached
    hereto as Exhibit N; October 11, 2018 SRI Abstract Fee Receipt, attached hereto as
    Exhibit O. Dr. Saed’s SRI submission was accepted for presentation at the March
    2019 Annual Scientific Meeting. See Saed Dep. at 484:20-485:17.

                                              14
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 22 of 65 PageID: 55514




    poster at the SGO 50th Annual Meeting on Women’s Cancer. 54 To be accepted for

    presentation by SGO, Dr. Saed’s manuscript would have been reviewed by an

    additional 4-5 reviewers for scientific merit and practice relevance. Not long after,

    his manuscript was reviewed and recommended for publication by Reproductive

    Sciences. 55 The e-mail from Reproductive Sciences confirmed that Dr. Saed’s work

    was reviewed, yet again, by at least one additional reviewer 56 It was officially

    published in February 2019 and is now publicly available. 57

               In total, the work related to Dr. Saed’s experiment and his manuscript has

    been reviewed by approximately 20-25 independent editors and reviewers, and none

    of the reviewers have been as critical as Defendants’ and their paid experts.

               D.    DR. SAED’S EXPERT REPORT

               Dr. Saed’s expert report “describe[s] the role of oxidative stress in the

    pathogenesis and behavior of ovarian cancer as well as describe[s] the biological

    effects of talcum powder on normal ovarian and fallopian tube cells, macrophages,

    and ovarian cancer cells.” 58 The opinions expressed in his report “are made to a


    54
     See November 15, 2018 e-mail to Ms. Amy Harper from SGO 2019 Annual
    Meeting Program Committee, attached hereto as Exhibit P.
    55
      See December 26, 2018 e-mail from Dr. Lawrence Layman, Editor, Reproductive
    Sciences, attached hereto as Exhibit Q.
    56
         Id.
    57
         See Saed Publication.
    58
         See Saed Report at 2.

                                               15
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 23 of 65 PageID: 55515




    reasonable degree of scientific certainty and are based on [his] experience, training,

    and expertise, as well as a knowledge of the relevant scientific literature and [his]

    previous and ongoing research.” 59 Importantly, the experiment performed by Dr.

    Saed is only part of the basis of his expert report. For example, in his peer-reviewed,

    published manuscript, Dr. Saed relies upon his experiment and prior work that he

    has performed in the area of inflammation and oxidative stress in the pathogenesis

    of ovarian cancer to reach his conclusions. 60 Dr. Saed also clearly distinguishes the

    opinions in his expert report, provided to a reasonable degree of scientific certainty,

    from the conclusions reached in his published paper that are based solely on

    experimental data presented in the paper. He states conclusions that he has reached

    about Defendants’ products that have resulted from his experiments, but separately

    states the opinions that he draws based upon those conclusions and his other


    59
      Id. at 20. See also Saed Dep. at 240:17-25 (opinions “based on data from [his]
    manuscript and this work that [he] did and, also, in published literature that identify
    the pattern, the signature pro-oxidants in ovarian cancer.”).
    60
       See Saed Publication at 1 (“We have previously characterized EOC cells to
    manifest a persistent prooxidant state as evident by the upregulation of key oxidants
    and downregulation of key antioxidants, which is further enhanced in chemo
    resistant EOC cells.”); 7 (“We have previously reported that EOC cells manifest
    increased cell proliferations and decreased apoptosis.”); Id. (“We were the first to
    report that MPO was expressed by EOC cells and tissues and that silencing MPO
    gene expression utilizing MPO-specific siRNA induced apoptosis in EOC cells
    through a mechanism that involved the S-nitrosylation and caspase-3 by MPO.”) Id.
    (“We have previously highlighted the potential benefits of the combination of serum
    MPO and free iron as biomarkers for early detection and prognosis of ovarian
    cancer.”).

                                              16
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 24 of 65 PageID: 55516




    experiences. 61 Dr. Saed’s expert report represents an accumulation of scientific

    knowledge spanning decades of research and peer-review literature. His opinions

    are anything but “junk-science” and the Court should permit Dr. Saed to testify.

    II.   ARGUMENT

          The admissibility of expert testimony is determined pursuant to Fed. R. Evid.

    702, which incorporates the standards outlined by the United States Supreme Court

    in Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1983). 62 The Third Circuit

    has distilled Fed. R. Evid. 702 down to three basic inquiries: qualifications,

    reliability, and fit. 63 The trial court acts as a “gatekeeper” to the admission of expert

    scientific testimony under Fed. R. Evid. 702 and is tasked with conducting a

    preliminary assessment “to ensure that any and all scientific testimony… is not only




    61
       See Saed Report at 20 (“5. In my opinion, based on established molecular
    mechanisms… 6. In my opinion, based on established molecular mechanisms…
    (emphasis added)). See also Saed Dep. at 244:18-245:12 (testifying to the difference
    between conclusions expressed in his peer-reviewed, published paper and opinions
    expressed in his expert report).
    62
       The PSC incorporates by reference all arguments contained in The Plaintiffs’
    Steering Committee’s Omnibus Memorandum of Law In Response And Opposition
    To Defendants’ Johnson & Johnson and Johnson & Johnson Consumer Inc.’s
    Motion To Exclude Plaintiffs’ General Causation Opinions as well as the Plaintiffs’
    Steering Committee’s Omnibus Brief Regarding Daubert Legal Standard and
    Scientific Principles for Assessing General Causation (ECF. No. 9732).
    63
      JVI, Inc. v. Truckform Inc., No. CIV. 11-6218 FLW, 2012 WL 6708169, at *4
    (D.N.J. Dec. 26, 2012) (Wolfson, F.) (quotations and citation omitted).

                                               17
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 25 of 65 PageID: 55517




    relevant, but reliable.” 64 The experiment conducted by Dr. Saed and the opinions

    expressed by him in his expert report are founded in reliable methodologies and

    should be permitted. 65

                   A.     THE METHODOLOGIES EMPLOYED BY DR. SAED IN
                          CONDUCTING HIS EXPERIMENT ARE RELIABLE
                          AND SATISFY DAUBERT STANDARDS

             An assessment of the reliability of scientific evidence under Fed. R. Evid. 702

    requires a determination as to its scientific validity. In other words, the expert's

    opinion must be based on the methods and procedures of science rather than on

    subjective belief or unsupported speculation; the expert must have good grounds for

    his or her belief. “This does not mean that plaintiffs have to prove their case twice—

    they do not have to demonstrate to the judge by a preponderance of the evidence that

    the assessments of their experts are correct, they only have to demonstrate by a

    preponderance of evidence that their opinions are reliable.” 66

             To determine if an expert’s testimony is indeed reliable, the Third Circuit has

    provided some factors district courts should consider:



    64
         Daubert, 509 U.S. at 589.
    65
      The PSC incorporates by reference all arguments contained in The Plaintiffs’
    Steering Committee’s Memorandum In Response And Opposition To J&J’s
    Conditional Motion To Exclude Certain Of The PSC’s Experts’ Opinions For Lack
    Of Qualifications.
    66
      In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 744 (3d Cir. 1994) (emphasis in
    original) (italics added)).

                                               18
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 26 of 65 PageID: 55518




                   [(1)] whether a method consists of a testable hypothesis;
                   (2) whether the method has been subject to peer review;
                   (3) the known or potential rate of error; (4) the existence
                   and maintenance of standards controlling the technique's
                   operation; (5) whether the method is generally accepted;
                   (6) the relationship of the technique to methods which
                   have been established to be reliable; (7) the qualifications
                   of the expert witness testifying based on the methodology;
                   and (8) the non-judicial uses. 67

    The Third Circuit has explained that this list is non-exclusive and trial courts do not

    need to apply each factor in every single case. 68 In addition, reviewing these factors

    is also not a simple analysis and a tally of how many of them end up in a party’s

    favor. 69 Rather, in determining whether to admit an expert’s opinion, a trial court

    must thoroughly assess “whether the ‘particular opinion is based on valid reasoning

    and reliable methodology.’” 70 However, the method used by the expert does not

    always have to be correct. The method just needs to be reliable. 71 “The judge should


    67
       Schneider ex rel. Estate of Schneider v. Fried, 320 F.3d 396, 405 (3d Cir. 2003)
    (citation omitted).
    68
         Elcock v. Kmart Corp., 233 F.3d 734, 746 (3d Cir. 2000).
    69
       Heller v. Shaw Indus., Inc., 167 F.3d 146, 152 (3d Cir. 1999) (“In this regard, a
    party seeking to exclude (or to admit) expert testimony must do more than enumerate
    the factors from Daubert (and the additional ones from Paoli, discussed below) and
    tally the number that are or are not met by a particular expert's testimony.”).
    70
      See Oddi v. Ford Motor Co., 234 F.3d 136, 145–46 (3d Cir. 2000) (citation
    omitted).
    71
      Pineda v. Ford Motor Co., 520 F.3d 237, 247 (3d Cir. 2008) (“While a litigant has
    to make more than a prima facie showing that his expert's methodology is reliable,
    we have cautioned that the evidentiary requirement of reliability is lower than the
    merits standard of correctness.”) (citations and quotations omitted); see also Heller,
                                               19
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 27 of 65 PageID: 55519




    only exclude the evidence if the flaw is large enough that the expert lacks ‘good

    grounds’ for his or her conclusions.” 72

          The factors articulated by the Third Circuit in In re Paoli weigh heavily in

    favor of a finding that Dr. Saed’s experiment and opinions are reliable. It is

    undisputed that the first five factors weigh in favor of Dr. Saed because the methods

    he employed have been subject to peer review, are generally accepted, have a

    testable hypothesis, have standards that can control the technique’s operation, and

    have known or calculable rates of error. Defendants’ expert, Dr. Birrer,

    acknowledged that the methodology employed by Dr. Saed in conducting the

    experiment has been peer reviewed and published in other studies. 73 In fact, another

    of Defendants’ experts, Dr. Mossman, was co-author on a peer-reviewed study

    which tested asbestos and non-fibrous talc in a similar way. 74 Dr. Saed also testified


    167 F.3d at 152 (“Put differently, an expert opinion must be based on reliable
    methodology and must reliably flow from that methodology and the facts at issue—
    but it need not be so persuasive as to meet a party's burden of proof or even
    necessarily its burden of production.”).
    72
       In re Paoli, 35 F.3d at 746. See also United States v. Velasquez, 64 F.3d 844,
    849–50 (3d Cir. 1995) (“We have cautioned, however, against applying the
    reliability requirement too strictly, explaining that the reliability requirement must
    not be used as a tool by which the court excludes all questionably reliable evidence.
    The ultimate touchstone of admissibility is helpfulness to the trier of fact.”)
    (quotations and citation omitted).
    73
      See Birrer Dep. at 359:18-361:5 (testifying that the various tests used by Dr. Saed
    in his experiment have all be peer reviewed and published).
    74
     See Shukla, A., et al., Alterations in Gene Expression in Human Mesothelial Cells
    Correlate with Mineral Pathogenicity, Am J Respir Cell Mol Biol, 41, 114-123
                                               20
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 28 of 65 PageID: 55520




    that he has been using the tests that were part of his experiment for decades. 75 The

    methods have been generally accepted, are broadly used, and are scientifically

    acceptable. The experiment has a testable hypothesis as any scientist could follow

    the protocols outlined by Dr. Saed in his lab notebooks and manuscript and test the

    results. 76 When asked, Defendant’s expert, Dr. Mossman, refused to answer the

    question of whether she could replicate Dr. Saed’s experiment, an obvious question

    because she has previously conducted and proposed similar studies, opting instead

    to only state that she would not want to and that she would do it differently. 77

    Wanting to do the experiment differently and not being able to replicate what was

    done are two different things, and Defendants’ experts tacitly confirm that Dr. Saed’s

    work can be replicated. The common acceptance of the techniques supports a finding

    that there are standards controlling the technique’s operation and, lastly, error rates



    (2009), attached hereto as Exhibit R (exposing human mesothelial cells and
    immortalized cell lines to asbestos and non-fibrous talc samples and examining for
    changes in gene expression). In 2009, Dr. Mossman had also proposed conducting
    a study of gene expression changes in human ovarian epithelial cells exposed to talc
    of different sources and mineralogy. She was going to conduct the cell assay and
    gene expression analysis. See IMERYS 248635, September 25, 2009, Regulatory
    Science Project Proposal, attached hereto as Exhibit S.
    75
      See Saed Dep. at 138:15-19 (explaining that the methodology used in the lab has
    been in place and have been published and referenced and been done over and over).
    76
      Although an option, none of Defendants’ experts conducted a similar study to
    challenge the hypotheses or results of Dr. Saed’s experiment.
    77
      See April 8, 2019 Deposition of Brooke T. Mossman, M.S., Ph.D. (“Mossman
    Dep.”) at 496:9-498:24, excerpts of which are attached hereto as Exhibit T.

                                              21
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 29 of 65 PageID: 55521




    are calculable. The aforementioned results, therefore, have five factors weighing

    heavily in favor of Dr. Saed.

               Defendants have argued that the remaining factors – technique, qualifications

    and non-judicial issues weigh heavily against permitting Dr. Saed to testify.

    However, as outlined below, Defendants’ criticisms of Dr. Saed have no factual

    underpinnings.

                           1.      Dr. Saed’s experiment and opinions are not “made-
                                   for-litigation”

               Defendants’ argument that Dr. Saed’s opinions were driven by litigation and

    reflect highly unscientific practices ignores Dr. Saed’s professional experience, the

    scrutiny placed on his work by multiple editors and reviewers, and the similar work

    that has been done by others. 78 To start, as noted in his expert report, Dr. Saed

    “undertook research to determine whether or not there was a molecular basis for the

    observed association between talcum powder and ovarian cancer.” 79 “Issues like this

    one, relating to the pathogenesis of ovarian cancer and the relationship between

    inflammation and other pathological conditions in the female reproductive system

    as well as cancer, have been the focus of [his] laboratory for years.” 80 Dr. Saed was



    78
      See Defs. Mem. at 29. As noted above, Defendants’ assertions that Dr. Saed’s
    work is fraudulent are baseless and designed as an unwarranted character attack.
    79
         Saed Report at 13.
    80
         Id.

                                                 22
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 30 of 65 PageID: 55522




    not diving into uncharted waters when he began this process. Dr. Saed set out to

    conduct an experiment involving a subject matter with which he had expertise, as

    reflected by his authorship on numerous studies published in peer-reviewed journals,

    and which has been the focus of his laboratory for years – many relating to oxidative

    stress in the pathogenesis of ovarian cancer. 81 Tellingly, the costs of the experiment

    were paid for by Dr. Saed through his laboratory budget because it was a subject he

    wanted to investigate, not because he was driven to do so by litigation. 82 Further, Dr.

    Saed testified that he was not driven by the results of the litigation – his intention

    was to publish the results regardless of the outcome because it was an important

    topic area. 83

             Although the opinions have been presented for purposes of litigation, they are

    far from unscientific and are founded in sound methodology. All of the techniques

    utilized by Dr. Saed in his experiment are broadly used and scientifically acceptable.

    As previously noted, similar techniques were employed by Shukla (with Defense

    expert Mossman as co-author). Similar techniques have also been employed by



    81
         Id.at 2-3.
    82
         See Saed Dep. at 38:1-39:21.
    83
      Id. at 147:8-15 (noting that he was being paid to do the work regardless of whether
    the results were positive or negative); 327:3-6 (he would have published his results
    whether positive or negative); and 336:21-337:18 (still would have published the
    results even if it showed no biological effect because, either way, the findings are
    “huge.”).

                                               23
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 31 of 65 PageID: 55523




    Buz’Zard (2007) and Akhtar (2010 and 2012). These experiments, like that of Dr.

    Saed, were peer-reviewed and published in reputable scientific journals. 84

          Lastly, far from “unscientific,” Dr. Saed’s work has been the subject of four

    multiple accepted abstracts, has been published in a peer-reviewed scientific journal,

    and has been presented at prestigious medical conferences. In each instance Dr.

    Saed’s work was peer-reviewed and approved by editors and reviewers prior to its

    presentation or publication. With or without the form of disclosures that Defendants

    argue were necessary, for Dr. Saed’s work to withstand these review processes

    undercuts any arguments that the work was “unscientific” and “made-for-litigation.”

    Even the reviewers at Gynecologic Oncology, who Defendants argue are Dr. Saed’s




    84
       See Buz’Zard, A, Pycnogenol reduces Talc-induced Neoplastic Transformation in
    Human Ovarian Cell Cultures, Phytother. Res. 21, 579-586 (2007) (treating cells
    with talcum powder and noting that talc increased proliferation, decreased the
    number of transformed colonies and decreased the ROS generation in the ovarian
    cells, possibly contributing to ovarian carcinogenesis), attached hereto as Exhibit
    U; Akhtar, MJ, et al., The Primary role of iron-mediated lipid peroxidation in the
    differential cytotoxicity cause by two varieties of talc nanoparticles on A549 cells and
    lipid peroxidation inhibitory effect exerted by ascorbic acid, Toxicology, 24, 1139-
    1147 (2010) (in vitro assessment of talc for potential toxicity via use of assays and
    measuring cytotoxicity and oxidative stress), attached hereto as Exhibit V; and
    Akhtar, MJ, et al., Cytotoxicity and Apoptosis Induction by Nanoscale Talc Particles
    from Two Different Geographical Regions in Human Lung Epithelial Cells,
    Environ. Tech. (2012) (measuring oxidative stress and cell apoptosis via cell
    analysis), attached hereto as Exhibit W.

                                              24
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 32 of 65 PageID: 55524




    only “relevant” peers, 85 found that Dr. Saed’s work was “a well-written manuscript

    and the conclusions are supported by the results.” 86

             The case cited by Defendants to support their position only bolster the PSC’s

    argument that these attacks are unfounded. In Wade-Greaux v. Whitehall, the court

    did exclude the experts’ testimony because it was “litigation driven.” Instead, the

    opinions were excluded because the experts had relied upon insufficient data –

    testing only 16 rabbits where some dose groups contained only a single rabbit, and

    reasonable conclusions could not be drawn from the limited information. 87 In In re

    Opus E., LLC, the bankruptcy court refused to admit expert testimony where the

    expert revised and adjusted the debtor’s projections to better fit into the expert’s

    opinions. 88 Neither case is on point with the present matter and Defendants’

    argument that Dr. Saed’s work was litigation driven is unfounded and should carry

    no weight. 89




    85
         See Defs. Mem. at 79.
    86
         See Exhibit M.
    87
         Wade-Greaux v. Whitehall Labs., Inc., 874 F. Supp. 1441, 1460 (D.V.I. 1994).
    88
         In re Opus E., LLC, 528 B.R. 30, 55 (Bankr. D. Del. 2015).
    89
      Defendants’ heavy reliance on Wade-Greaux to support their position underscores
    just how far afield their arguments are.

                                               25
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 33 of 65 PageID: 55525




                           2.    Dr. Saed did not predetermine the conclusions he
                                 expected to reach

               Defendants’ argument that Dr. Saed predetermined the conclusions of his

    work and then designed experiments to prove them demonstrates Defendants’

    fundamental lack of scientific knowledge and awareness. Defendants’ argument is

    premised on Dr. Saed’s statements within the Budget Document of what he

    “expected” the outcomes to be. 90 However, far from being predetermined

    conclusions, each of the “expectations” stated by Dr. Saed is a testable hypothesis –

    a tentative answer to the scientific questions.

               “A testable hypothesis is a hypothesis that can be proved or disproved as a

    result of testing, data collection, or experience. Only testable hypotheses can be

    used to conceive and perform an experiment using the scientific method.”91 As

    recognized in the cases cited by Defendants, “[c]ertainly, scientists may form initial

    tentative hypotheses.” 92 It is when a scientists “conviction about the ultimate

    conclusion of their research is so firm that they are willing to aver under oath that it

    is correct prior to performing the necessary validating tests” that objectivity is lost.93




    90
         See Budget Document at 2-3.
    91
      See https://www.thoughtco.com/testable-hypothesis-explanation-and-examples-
    609100 (emphasis added), last visited May 24, 2019.
    92
         Claar v. Burlington N. R. Co., 29 F.3d 499, 503 (9th Cir. 1994).
    93
         Id.

                                                26
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 34 of 65 PageID: 55526




    Defendants offer no evidence that Dr. Saed was without the objectivity necessary to

    faithfully abide by the scientific method. In fact, Dr. Saed testified that part of the

    reason for his conducting the experiment was because he wanted to find out if there

    is molecular evidence. 94 He did not approach his experiment with the preconceived

    plan of showing that there was molecular evidence. Dr. Saed would have published

    his findings even if they did not demonstrate a biological effect. 95

            Defendants ignore that Dr. Saed’s Budget Document set out specific Aims,

    none of which presupposed any conclusions. The Aims sought to make

    determinations by way of the experiments outlined in the Budget Document. For

    example, Aim I sought to “[d]etermine the effect of talc on the redox balance in

    normal ovarian surface epithelial and ovarian cancer cells.” 96 The Aim outlined the

    testing methods that could be used “to accomplish the this aim…” but presuppose

    no outcomes. Each of the three Aims stated in Dr. Saed’s budget document outline

    the scientific methods and procedures to be implemented in order to reach ultimate




    94
       See Saed Dep. at 276:15-20 (“I agreed in principle to serve as a consultant for
    what I am an expert in, which is oxidative stress and ovarian cancer, and I promised
    to run data, do some work, because I wanted to find out if there is molecular
    evidence to support the effect of talcum powder on the markers that I study, which
    are the markers of risk of ovarian cancer.” (emphasis added)).
    95
      Id. at 327:3-7 (Q. Would you have published your results even if they had shown
    there was no biological effect?... A. Of course.”).
    96
         See Budget Document at 2.

                                              27
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 35 of 65 PageID: 55527




    conclusions and do not identify any prior, subjective beliefs. Dr. Saed’s process is a

    very common practice, especially when writing grant requests.

             Case law relied upon by Defendants demonstrate the chasm between their

    arguments and the facts of the case. In Claar, for example, the district court excluded

    the experts’ opinions because they had “formed their opinions before reading the

    relevant literature” despite not being “familiar with the field to diagnose the causes

    of plaintiffs’ injuries without first reviewing that literature. 97 In Snodgrass, expert

    opinions were excluded after the expert testified to an arbitrary division of data into

    subsets that “served the purpose” of achieving the desired result.98 Dr. Saed’s use of

    the term “expect” in a budget document in no way represents a conclusion driven

    predetermination and certainly does not rise to the levels of conclusion driven

    analysis observed in the cases cited by Defendants.

                         3.       The methods followed by Dr. Saed were sound and his
                                  causal conclusions are a direct product of his sound
                                  methodology




    97
         Claar, 29 F.3d at 502.
    98
       Snodgrass v. Ford Motor Co., No. 96-1814 (JBS), 2002 U.S. Dist LEXIS 13421,
    at *43 (D.N.J. Mar. 28, 2002). See also In re Zoloft (Sertraline Hydrochloride) Prod.
    Liab. Litig., 858 F.3d 787, 798 (3d Cir. 2017) (rejecting the reanalysis of studies,
    without explanation, to obtain result of statistical significance).

                                               28
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 36 of 65 PageID: 55528




             Defendants make much of the fact that Dr. Saed did not perform every test

    that was identified in his Budget Document. 99 However, as Dr. Saed specified in his

    deposition, the Budget Document was prepared in order to determine how much all

    experiments would cost if they were to be done. 100 It represented Dr. Saed’s thinking

    leading up to the experiment, but did not represent the experiment protocol or

    methodology that Dr. Saed intended to employ. As Dr. Saed noted in regard to the

    various tests listed under the different Aims, “they’re all the same. If you do one, so

    maybe enough to do – you don’t have to do all the oxidated stress marker. You can

    pick the most key one.” 101 The various tests and assays included in each Aim address

    the same general topic. As Dr. Saed testified, he did not necessarily need to perform

    each and every one – he picked the “most key one”. There is nothing in the record

    suggesting that Dr. Saed selectively performed tests to reach desired outcomes.

             In regard to Aim III, which is the focus of Defendants’ argument that Dr.

    Saed did not follow his own methodology, 102 Dr. Saed did perform the apoptosis and


    99
      See Defs. Mem. at 33-34 (arguing that findings are unreliable because Dr. Saed
    did not perform critical testing and apply his own methodology).
    100
          See Saed Dep. at 497:15-17.
    101
          Id. at 498:23-499:1.
    102
         Defendants incorrectly conflate apoptosis and proliferation testing with
    transformation assays, assuming that the transformation assay is a “test.” See Saed
    Dep. at 512:14-19 (highlighting counsel’s confusion regarding “the test method
    involving suspended cells in agar” when, in fact, the transformation assay is a culture
    that would be subject to apoptosis and proliferation testing).

                                              29
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 37 of 65 PageID: 55529




    proliferation analysis. 103 As outlined in the budget document, apoptosis was

    evaluated by measuring the levels of caspase-3, a marker of programmed cell death.

    This testing was done using a commercially available kit that is generally accepted

    and routinely used in in vitro testing. Decreased apoptosis (increased cell survival)

    was observed upon talcum powder exposure in all cell lines tested, and the effect

    was dose-dependent. 104 Cells further exhibited an increase in proliferative rate and

    viability, and a resistance to apoptosis, which are characteristic of cellular

    transformation. Taken together, the data presented in Dr. Saed’s publication indicate

    that the presence of talcum powder would create conditions which could increase

    the risk of cellular transformation of normal cells in the ovaries and fallopian tubes,

    and could be reasonably expected to contribute to the initiation and pathogenesis of

    ovarian cancer.

             Importantly, although Defendants argue that Dr. Saed did not follow a

    methodology to support his causal conclusions, multiple editors and scientists who

    have peer-reviewed his work have found differently. Even the reviewers at

    Gynecologic Oncology, who Defendants have deemed the only “relevant peers,”

    noted that Dr. Saed’s conclusions are supported by the results of his work.105 All



    103
          Id. at 503:20-504:3.
    104
          See Saed Publication at 8.
    105
          See Exhibit M.

                                              30
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 38 of 65 PageID: 55530




    reviewers were aware of and able to assess the materials and methods used in the

    experiment and, contrary to Defendants’ position, not a single independent source

    had issue. It is only Defendants and the made-for-litigation opinions of their experts

    who raise issues, and those with issues are in the minority. 106

                        4.    Defendants’       Dose Response Arguments Are
                              Inapplicable      To Tests Regarding Molecular
                              Mechanism

          Defendants’ argument that Dr. Saed’s experiment is not reliable because it

    failed to consider a dose of talc relevant to perineal talc use is based upon an

    improper premise. The objective of Dr. Saed’s experiment was not to extrapolate in

    vitro results to determine whether the use of talcum powder causes ovarian cancer

    in humans. Nor was the objective of the experiment to determine whether the use

    of talcum powder poses an increased risk of ovarian cancer. 107 Instead, “[t]he

    106
       In Amorgianos v. Nat'l R.R. Passenger Corp., 303 F.3d 256 (2d Cir. 2002), the
    court excluded evidence where the expert failed to apply the stated methodology
    “reliably to the facts in the case.” Id. at 269. Comparatively, the methodologies
    outlined in Dr. Saed’s manuscript were reliably applied and Dr. Saed expressed
    conclusions that were supported by the results of his work. In Soldo v. Sandoz
    Pharm. Corp., 244 F. Supp. 2d 434 (W.D. Pa. 2003), the court excluded experts who
    abandoned scientific method, finding that their opinions were “more subjective than
    scientific methodology.” Id. at 560. Nothing related to the experiment performed
    by Dr. Saed can be considered “subjective.”
    107
       The cases cited by Defendants in support of their argument all focus on human
    causation. See In re Zoloft (Sertraline Hydrocloride) Prod. Liab. Litig., 26 F. Supp.
    3d 466, 478 (E.D. Pa. 2014) (requiring that dose be addressed when considering
    human causation); Bourne ex rel. Bourne v. E.I. Dupont de Nemours & Co., 189 F.
    Supp. 2d 482, 495 (S.D.W. Va. 2002) (excluding opinion that benomyl is teratogenic
    in humans based solely upon in vivo animal studies and in vitro tests); In re Diet
                                              31
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 39 of 65 PageID: 55531




    objective of th[e] study was to determine the effects of talcum powder on the

    expression of key redox enzymes, CA-125 levels, and cell proliferation and

    apoptosis in normal and [epithelial ovarian cancer] cells.” 108 Determination of a

    relevant dose was not necessary. However, to the extent doses may be relevant, the

    doses used by Dr. Saed were similar to those used in studies conducted by Shukla

    (co-authored by Dr. Mossman), Buz’Zard, and Akhtar, none of which undermine the

    findings of Dr. Saed’s experiment. 109

             Standing alone, in vitro studies are not designed to mimic dosage in humans.

    In vitro tests do, however, “provide useful information about metabolic processes at




    Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig., No. MDL
    1203, 2000 U.S. Dist. LEXIS 9661, at *26 (E.D. Pa. June 28, 2000) (excluding
    opinions of human causation based only on in vitro animal studies at dose
    concentrations significantly higher than ingested by humans); Wade-Greaux, 874 F.
    Supp. At 1480 (holding scientifically invalid the notion that one can accurately
    extrapolate from animal data to humans to prove causation without supportive
    positive epidemiology).
    108
          Saed Publication at 4.
    109
       Compare Exhibits R, U, V, and W (Dr. Saed’s dosages at levels lower than those
    used by Buz’Zard and Akhar, and comparative to Shukla when conversions are done
    to account for micrometers per centimeters squared versus micrometers per cubic
    centimeter). Defendants’ expert, Dr. Mossman, testified that those doses are
    “appropriate concentration levels to determine pathogenicity of asbestos and talc.”
    Mossman Dep. at 355:1-358:13. Dr. Mossman’t testimony undercuts the arguments
    put forth by Defendants’ expert, Dr. Boyd, that Dr. Saed was using “enormous”
    doses. See February 25, 2019 Expert Report of Jeffrey Boyd For General Causation
    Daubert Hearing (“Boyd Report”) at 4, attached hereto as Exhibit X.

                                              32
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 40 of 65 PageID: 55532




    a cellular level, and may supplement existing animal and human data.” 110 In vitro

    studies or studies in cell culture may be conducted and are an important part of the

    totality of the evidence and the determination of general causation. 111 If results from

    both epidemiologic and toxicologic studies have been produced, “no universal rules

    exist for how to interpret or reconcile them.” 112 However, both can be considered—

    “careful assessment of the methodological validity and power of the epidemiologic

    evidence must be undertaken, and the quality of the toxicologic studies and the

    questions of interspecies extrapolation and dose–response relationship must be

    considered.” 113    Therefore, Dr. Saed’s cellular experiments are not considered

    unreliable because he did not attempt to determine and use a dose relevant to the

    question of human causation.




    110
          Bourne ex rel. Bourne, 189 F. Supp. 2d at 496.
    111
        Reference Manual on Scientific Evidence, Fed. Judicial Ctr., 592 (3d ed. 2011)
    (hereinafter Ref. Man.) at 623, 674. See also Mossman BT, Mechanistic in vitro
    studies: What they have told us about carcinogenic properties of elongated mineral
    particles (EMPs). Toxicol. Appl. Pharmacol., 2018 Dec. 15; 361:62-67 (“In vitro
    studies using target and effecter cells of mineral-induced cancers have been critical
    in determining the mechanisms of pathogenesis as well as the properties of elongated
    mineral properties (EMPs) important in eliciting these responses.”).
    112
          Id. at 564.
    113
          Id. at 564-565.

                                              33
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 41 of 65 PageID: 55533




                          5.       Dr. Saed utilized appropriate and valid controls

             Contrary to Defendants’ argument, Dr. Saed did use valid controls when

    conducting his experiments. As explained by Dr. Saed, “sterile DMSO was used as

    a control for all treatments.” 114 To do so, talcum powder was taken and mixed with

    DMSO. Cells were then treated with DMSO alone (“untreated” cells) and with the

    mixture of DMSO and talcum powder (“treated” cells). The treated cells were further

    exposed to different doses of talcum powder to determine dose-response. To the

    extent DMSO had any effect on the cells the response would have been seen in the

    untreated cells. 115 These conditions represent an appropriate control for an in vitro

    study.

             Defendants’ argument regarding the absence of valid controls is a red herring.

    No evidence is offered that the combination of DMSO and talc interacted in a way

    that skewed the results of Dr. Saed’s experiments. To the extent that Defendants’

    expert, Dr. Boyd, opined that “recent research suggest that DMSO could interact

    with talc and ‘alter the effect that talc would otherwise have on the cells (if any),’” 116

    the opinion is without basis. Dr. Boyd’s testimony was actually to the contrary,



    114
          Saed Publication at 5.
    115
          See Saed Dep. at 273:8-13.
    116
      Defs. Mem. at 38-39, quoting Boyd Report at 4 (citing Hall et al., Say No to
    DMSO: Dimethyl Sulfoxide Inactivates Sisplatin, Carboplatin, and Other Platinum
    Complexes, 74(14) Can Res. 3913 (2014)).

                                                34
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 42 of 65 PageID: 55534




    agreeing that DMSO is a “virtual, universal solvent” and stating that he had no

    knowledge of whether DMSO interacts with talc and has no evidence that DMSO

    renders talcum powder unstable. 117

             The same holds true for Defendants’ criticisms related to Dr. Saed’s reliance

    on colormetric assays. Defendants’ argue that Dr. Saed offered no evidence to

    support his assertion that the techniques used to “wash” cells of all talc prior to

    testing were failsafe. 118 However, Defendants offered no evidence that particulates

    may be present on the cells after washing. As Dr. Saed testified, “when we measure

    colormetric assay for proteins, these were proteins extracted from cells. They have

    no – nothing from outside, no talc, no powders, nothing else. This is total protein

    extracted from lysate of cells, so whatever is in the cells can interfere with the

    assay… but outside, no, because there is no outside source.” 119 Dr. Saed went on to

    explain that the generally accepted methodology that has been around for a half-

    century is a methodology that “you treat, you wash the cells, the cells are alive, you

    wash them, and then you lyse them, and then you extract proteins… It only carries

    proteins, and you go through different phases of purification until you extract total


    117
       See April 8, 2019 Deposition of Jeffrey A. Boyd, Ph.D. (“Boyd Dep”) at 236:16-
    21 (agreeing that DMSO is a virtual, universal solvent); and 238:10-16 (stating that
    he has no knowledge that DMSO interacts with talc or renders talcum powder
    unstable), excerpts attached hereto as Exhibit Y.
    118
          See Defs. Mem. at 41.
    119
          Saed Dep. at 440:14-20.

                                               35
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 43 of 65 PageID: 55535




    proteins. And this is very standard method.” 120 Defendants ask the Court to rule out

    five decades of established and accepted methodology based upon nothing but pure

    speculation that the established practices may not work.

             Defendants are also unable to offer any literature citation for the proposition

    that using “glass beads” as a control provides value, except for the study conducted

    by their own expert, Dr. Brooke Mossman. 121 There is no literature to suggest that

    tissue does not react to glass beads. Further, there are significant differences in the

    size and morphology of glass beads and talcum powder, thereby undermining actual

    consistency and control. Dr. Saed’s choice for control was not novel. Other peer-

    reviewed published molecular studies did not use glass beads (or any other

    particulate) as a control; rather, they used “no talc.” For example, in Buz’Zard

    statistical significance was determined comparing the treatment with the respective

    untreated control. 122 Likewise, in both studies authored by Akhtar, “cells not

    exposed to particles served as controls in each experiment.” 123 Lastly, not a single

    independent editor or reviewer commented that Dr. Saed’s method of using “no talc”




    120
          Id. at 441:9-18.
    121
          See Shukla, Exhibit R.
    122
       See Buz’Zard, Exhibit U (“the percent cell viability was calculated as the
    absorbance of the treated cells divided by the absorbance of untreated cell multiplied
    by 100).
    123
          See Akhtar (2010), Exhibit V at 1140; Akhtar (2012), Exhibit W at 396.

                                               36
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 44 of 65 PageID: 55536




    as a control was inappropriate. In sum, Defendants’ arguments regarding Dr. Saed’s

    controls are based upon unsupported hypotheticals that challenge the validity of

    generally accepted scientific techniques.

          As with all other arguments raised by Defendants, the case law relied upon in

    support of their contentions demonstrates their weakness. For example, in Mancuso

    v. Consol. Edison Co. of N.Y., the expert failed to use comparable subjects when

    conducting cell testing, relying upon cells from adult plaintiffs and foreskin of

    infants as a control. 124 No such control gap exists here.

                        6.     Dr. Saed’s use of multiple cell lines and multiple dose
                               treatments across each cell line undercuts Defendants’
                               arguments regarding reproducibility

          Dr. Saed has adequately demonstrated that the results of his work are

    reproducible. Dr. Saed’s experiment involved the use of six cell lines. 125 Each cell

    line was then separated into four separate culture dishes and treated – control; 5; 20;



    124
        See Mancuso v. Consol. Edison Co. of New York, 56 F. Supp. 2d 391, 403
    (S.D.N.Y. 1999). The other cases cited by Defendants do not even concern issues
    with proper control. In In re Mirena Ius Levonorgestrel-Related Prod. Liab. Litig.
    (No. II), 341 F. Supp. 3d 213 (S.D.N.Y. 2018), for example, the expert was excluded
    because, as the basis for his opinion, he continued to rely upon a study that had been
    repudiated by the author after discovering a design flaw. The expert’s reliance
    continued despite the corrected data from the study opposite results. Likewise, the
    issue in Wade-Greaux related to the expert’s failure to use appropriate sample sizes
    and failure to account for multiple alternative factors.
    125
      See Saed Dep. at 124:7-9 (noting six cell lines, each done in triplicate); Saed
    Report at 13 (identifying six cell lines – SKOV-3; A2780; TOV112D; EL-1; FT33).

                                                37
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 45 of 65 PageID: 55537




    and 100 ug/mL. 126 After the cells were treated for 72 hours, culture media was

    collected for analysis. Each culture media was tested in triplicate. 127 As a result,

    excluding the control, each cell line was separated into three independent culture

    dishes (triplicate) and then tested three times (triplicate), “a triplicate of a triplicate.”

    The results were consistent across talc treated cells. 128

             Defendants’ argument ignores that the each of the cell lines were initially

    separated into four separate culture dishes so that each cell line was treated in

    triplicate. As Defendants do correctly note, Dr. Saed then measured each of the

    triplicate cell lines in triplicate. 129 Defendants’ use of “fuzzy math” to undercut the

    methods employed by Dr. Saed is unavailing. The replication of results by Dr. Saed

    across multiple cultures of multiple cell lines demonstrates reproducibility far

    beyond that which courts have found to be lacking in the cases relied upon by

    Defendants. In Rovid v. Graco Children’s Prods., Inc., for example, the expert’s




    126
       See Saed Dep. at 125:19-22; Saed Publication at 2 (“Sterile DMSO was used as
    a control for all treatments. Cells were seeded in 100-mm cell culture dishes… and
    were treated 24 hours later with 5, 20, or 100 ug/mL of talc for 72 hours.
    127
          Id. at 125:3-126:4.
    128
       See Manuscript at 9 (“We have shown a dose-dependent significant increase in
    key prooxidants… and a concomitant decrease in key antioxidant enzymes… in all
    talc-treated cells (both normal and ovarian cancer) compared to their controls.”
    (emphasis added)).
    129
       See Defs. Mem. at 43 (“He then measured his results three times.” (emphasis in
    original)).

                                                 38
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 46 of 65 PageID: 55538




    methodology was found to be insufficient because he performed only a single test. 130

    Likewise, in Avon Prods., Inc. v. S.C. Johnson & Sons, Inc., the expert tried to rely

    upon a mosquito test in which subjects were exposed to mosquitos only a single time

    while repellent was applied. The court determined that there was no way to assess

    how changing factors outside the lab may have impacted results if tests were run on

    multiple occasions. 131 It is for these reasons that Defendants’ arguments premised

    on reproducibility must fail.

                       7.     The cell lines utilized by Dr. Saed were appropriate
                              and fit within his methodology

          Defendants erroneously argue that Dr. Saed studied cell lines that could not

    possibly support his conclusions on biological mechanism and causation because

    they were cells of irrelevant origin, immortalized or already cancer cells. To start,

    Defendants argument is wrong because Dr. Saed did use “normal human cells from

    the target organ” as Defendants demand. As outlined in his published manuscript,

    Dr. Saed used six different cells in his experiment: (3) ovarian cancer cell lines;




    130
      Rovid v. Graco Children’s Prods., Inc., 17-cv-015606-PJH, 2018 U.S. Dist.
    LEXIS 192449, at *14 (N.D. Cal. Nov. 9, 2018).
    131
       Avon Prod., Inc. v. S.C. Johnson & Son, Inc., 984 F. Supp. 768, 787 (S.D.N.Y.
    1997). Koch v. Shell Oil Co., 49 F. Supp. 2d 1262, 1268 (D. Kan. 1999) is
    inapplicable to the present matter. In Koch, the expert testified that the testing
    samples had been destroyed during a lab move and so the experiments could not be
    reproduced.

                                             39
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 47 of 65 PageID: 55539




    normal cells human macrophages; immortalized human fallopian tube secretory

    epithelial cells; and human primary normal ovarian epithelial cells. 132

              Regardless, as with their argument regarding dose response, Defendants

    ignore the objective of Dr. Saed’s experiment and make arguments relevant only to

    extrapolation of in vitro studies to human causation. Defendants’ reliance on In re

    Rezulin, wherein the court warned that “[c]aution always must be used in

    extrapolating results in tissue culture to effects in live humans,” exemplifies their

    obtuseness. 133 As previously noted, the objective of Dr. Saed’s experiment was not

    to extrapolate in vitro results to determine human causation, but to “determine the

    effects of talcum powder on the expression of key redox enzymes, CA-125 levels,

    and cell proliferation and apoptosis in normal and [epithelial ovarian cancer]

    cells.” 134 In vitro tests “provide useful information about metabolic processes at a

    cellular level, and may supplement existing animal and human data.” 135 In vitro

    studies or studies in cell culture may be conducted and are an important part of the




    132
          See Saed Publication at 2 (emphasis added).
    133
       In re Rezulin Prod. Liab. Litig., 369 F. Supp. 2d 398, 428–429 (S.D.N.Y. 2005)
    (emphasis added). See also Mancuso, 56 F. Supp at 403 (noting necessity of
    establishing dose response relationship before determining human causation).
    134
          Saed Publication at 4.
    135
          Bourne ex rel. Bourne, 189 F. Supp. 2d at 496.

                                              40
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 48 of 65 PageID: 55540




    totality of the evidence and the determination of general causation. 136 Therefore,

    regardless of the type of cell lines used, Dr. Saed’s results provide valuable insight

    into determining general causation. Lastly, Defendants’ arguments related to this

    issue also fail because even if Dr. Saed had only used immortalized cells, use of such

    cells have been noted to be near the top of the hierarchy when it comes to relevance

    of experiments, just below primary human cells. 137

                          8.       The results from SNP data are consistent with
                                   experimental methods and are reliable

             Defendants incorrectly argue that Dr. Saed’s conclusions regarding his SNP

    data are unreliable. 138 Defendants’ position looks at the data from Dr. Saed’s

    experiment and fails to consider the other research conducted by Dr. Saed, and

    referred to in his manuscript for the proposition that specific gene mutations occur

    as a result of exposure to talcum powder. For example, in his peer-reviewed

    published manuscript Dr. Saed concludes that the data from his experiment “confirm

    an increase in iNOS expression and enzymatic activity in all talc treated cells.” 139

    Dr. Saed goes on to state that “[c]ollectively, these findings support the notion that


    136
       Reference Manual on Scientific Evidence, Fed. Judicial Ctr., 592 (3d ed. 2011)
    (hereinafter Ref. Man.) at 623, 674.
    137
       See In re Rezulin, 369 F. Supp. 2d at429 (“At the top of the hierarchy is human
    hepatocytes. Next is “immortalized” hepatocytes…”).
    138
          See Defs. Mem. at 46.
    139
          Saed Publication at 9.

                                              41
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 49 of 65 PageID: 55541




    talc treatment induced gene point mutations that happen to correspond to SNPs in

    locations with functional effects, thus altering overall redox balance for the initiation

    and development of ovarian cancer.” 140 The manuscript does not state, as Defendants

    imply, that genetic mutations occurred and cells were transformed during the 72-

    hours that cells were exposed to Defendants’ talcum powder. Instead, when read

    properly (and “collectively”), Dr. Saed’s manuscript notes that “we have previously

    reported that acquisition of chemoresistance by ovarian cancer cells is associated

    with a switch from the GPXI SNP genotype to the normal GPXI genotype” and those

    findings, coupled with the increase iNOS expression, enzymatic activity, and

    suggested existence of NOS2 SNPs found in the experiment, support his conclusions

    about talc treatment induced gene point mutations.

             When asked whether his manuscript was reporting that talc causes mutations

    in DNA in 72 hours Dr. Saed clarified that “there is an induction of this specific

    mutation in response to the treatment of talc.” 141 He did not state that the mutation

    had occurred or, as Defendants’ expert, Dr. Neel, stated a “wholesale change in [the]

    genetic content of a specific… SNP within 72 hours.” 142 Importantly, genotoxicity

    can be demonstrated within 72 hours, but cells cannot be transformed within that



    140
          Id. (emphasis added).
    141
          Saed Dep. at 251:4-14 (emphasis added).
    142
          Defs. Mem. at 48.

                                               42
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 50 of 65 PageID: 55542




    time, and Dr. Saed has not attempted to assert anything different. It is for this reason

    that Defendants’ arguments that Dr. Saed results lack coherent support are

    unfounded. 143

             As is a common theme throughout, Defendants argue that it is only

    Defendants’ experts and the reviewers for Gynecologic Oncology who have the

    expertise to understand the alleged errors in Dr. Saed’s experiment. 144 Defendants’

    arrogance actually compels the assertion that other “reviewers lack the expertise

    needed to understand.” 145 However, the aforementioned statement failed to consider

    that those included amongst the reviewers that “lack the expertise” are peer-

    reviewers who accepted Dr. Saed’s abstract reporting his SNP findings for

    presentation at the Society for Gynecologic Oncology’s 50th Annual Meeting on

    Women’s Cancer!

             In the end, Defendants are unable to dismiss the fact that Dr. Saed’s body of

    work related to oxidative stress and ovarian cancer over the past several decades

    combined with the results of his recent experiment has enabled him to define a

    biologically plausible pathway by which Defendants’ talcum powder products can



    143
          Id. at 49-50.
    144
          Id. at 49-50.
    145
       Id. Defendants’ view from their self-appointed throne has also enabled them to
    determine that the reviewers from Gynecologic Oncology were “confused” and
    “expressed doubts” despite the absence of any such statements. Id.

                                               43
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 51 of 65 PageID: 55543




    induce ovarian cancer. His findings have been peer-reviewed and accepted by

    numerous experts in the field, enabling him to publish his results, present at

    prestigious conferences and have his abstracts accepted on multiple occasions.

                          9.     Any errors identified in Dr. Saed’s lab notebooks were
                                 inadvertent, non-substantive in nature, and do not
                                 affect the veracity or accuracy of the findings

             Any errors contained in Dr. Saed’s lab notebooks were inadvertent, non-

    substantive and, most importantly, have no impact on the accuracy or veracity of his

    findings. As an initial matter, as Dr. Saed testified, most of the work that is done

    now is done electronically so, just to keep a record in case something happens to the

    electronic version, the information is printed out and pasted in the lab notebooks. 146

    The underlying data, therefore, is maintained electronically.

             As it relates to white-out, Dr. Saed acknowledged that the use of white out is

    not a standard practice and is not one that he teaches to those who work in his lab. 147

    However, to the extent white out was used in the lab notebook, it had no impact on

    the accuracy or veracity of data. 148 The areas where white out did appear related to



    146
          See Saed Dep. at 114:22-115:1.
    147
       Id. at 99:21-25 (typically would not use white out); 102:9-16 (would have
    preferred that the white out was not used, but it was. That said, it doesn’t change
    anything); 109:24-110:4 (Dr. Saed would have preferred that it not happen, but it
    did); 115:6-116:9 (instructed the people within the lab on how to maintain a
    notebook and white out should not have been used).
    148
          Id. at 100:5-13 (White out has nothing to do with results).

                                                44
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 52 of 65 PageID: 55544




    procedures in the lab and did not impact data or results. It pertained to procedures

    that have been published over one hundred times. 149 Defendants are unable to offer

    any evidence that the areas of white out were substantive or had any impact on the

    results that have been peer-reviewed and published. 150

          Accusations as to mathematical calculations are also unavailing. As indicated

    above, the data related to the work done by Dr. Saed is done electronically and

    maintained electronically. Handwritten notes in the lab notebook that are

    mathematical would be just that – notes. The relevant data and results are all

    calculated electronically and were the data that was reported in the publication.

    Further, while Defendants argue that there are variations in prior drafts of

    manuscripts, that may explain why the manuscripts were drafts. Defendants simply

    attempt to inflate insignificant issues in an effort to undercut the work of Dr. Saed.

    Defendants’ challenges simply do not rise to the level that would warrant exclusion

    under relevant case law.




    149
       98:19-23 (white out appeared on a summary of procedures that have been
    published over one hundred times); 101:8-19 (about procedures that have previously
    been published).
    150
       Defendants reference to statements by Judge Pisano that Dr. Saed “was shown to
    be less than forthcoming” should carry no weight. Defs. Mem. at 52. The PSC
    objected to the order referenced by Defendants because it was based on factual error
    and the issues related to the Order were subsequently resolved in favor of the PSC.

                                             45
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 53 of 65 PageID: 55545




             In Louis Vitton Malletier v. Dooney & Burke, 525 F. Supp. 2d 558 (S.D.N.Y.

    2007), for example, the court excluded the expert’s report where it was found that

    the expert had committed significant methodological errors. 151 In contrast to Louis

    Vitton, Defendants are unable to point to significant methodological errors and, to

    the extent Defendants have raised issue with Dr. Saed’s methods, those issues have

    been addressed, supra. 152

             Errors in an expert’s work goes to the weight of the evidence and an analysis

    of errors should be left to the trier of fact. 153 The Daubert analysis focuses on the

    methodology underlying an expert’s opinion, not the expert’s conclusions. 154

    Therefore, the focus of admissibility under Daubert is the reliability of the experts’




    151
       Louis Vitton, 525 F. Supp. 2d at 569. See also Wade-Greaux, 874 F. Supp. 2d at
    569 (excluding expert’s testimony not because of inconsistency in lab notebooks,
    but because the inconsistency coupled with the limited amount of data “could affect
    substantially the statistical conclusions given the small number of rabbits used in the
    study by any measure.”).
    152
       Although Defendants make much of Dr. Saed reporting 48 hours in his initial
    manuscript, the error is irrelevant for two reasons: (1) the information was never
    published in Gynecologic Oncology; and (2) their claimed relation to observed
    mutations misconstrues the experiment and data.
    153
       See In re Paoli R.R. Yard PCB Litigation, 35 F.3d at 744 (“This does not mean
    that plaintiffs have to prove their case twice—they do not have to demonstrate to the
    judge by a preponderance of the evidence that the assessments of their experts are
    correct, they only have to demonstrate by a preponderance of evidence that their
    opinions are reliable.”).
    154
          Daubert, 509 U.S. at 595.

                                               46
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 54 of 65 PageID: 55546




    methods, not the correctness of their conclusions. 155 In other words, it is not the trial

    court’s task to decide whether an expert’s conclusions are correct. 156

             B.     DATA FROM DR. SAED’S EXPERIMENT ARE VALID AND
                    REPRESENT A PIECE OF THE BIOLOGIC PLAUSIBILITY
                    PUZZLE

             Defendants have continually argued that Dr. Saed’s experiment is not reliable

    because it is an in vitro experiment that can’t be extrapolated to establish human

    causation. 157 However, even the cases relied upon by Defendants support the

    proposition that Dr. Saed’s experiment is useful and relevant. In vitro studies “can

    provide a reliable basis for medical and scientific opinions as long as there

    extrapolations are warranted.” 158 As previously noted, In vitro tests “provide useful

    information about metabolic processes at a cellular level, and may supplement

    existing animal and human data.” 159 In vitro studies or studies in cell culture may

    be conducted and are an important part of the totality of the evidence and the



    155
       Daubert, 509 U.S. at 585. See also Beech Aircraft Corp. v. Rainey, 488 153, 1969
    (1988); Fed. R. Evid. 702.
    156
        Daubert v. Merrell Dow Pharm., Inc., 43 F.3d 1311, 1318 (9th Cir. 1995)
    (Daubert II) (“[T]he Daubert test “is not the correctness of the expert’s conclusion
    but the soundness of his methodology.”).
    157
       Defs. Mem. at 56 and citing In re Human Tissue Prod. Liab. Litig., 582 F. Supp.
    2d 644, 663 (D.N.J. 2008) for the proposition that in vitro studies are not as helpful
    as epidemiologic or animal studies.
    158
          In re Human Tissue, 582 F. Supp. 2d at 663.
    159
          Bourne ex rel. Bourne, 189 F. Supp. 2d at 496.

                                               47
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 55 of 65 PageID: 55547




    determination of general causation. 160 If results from both epidemiologic and

    toxicologic studies have been produced, “no universal rules exist for how to interpret

    or reconcile them.” 161 However, both can be considered—“careful assessment of the

    methodological validity and power of the epidemiologic evidence must be

    undertaken, and the quality of the toxicologic studies and the questions of

    interspecies extrapolation and dose–response relationship must be considered.” 162

             Dr. Saed’s peer-reviewed published research stands on its own. In contrast to

    Defendants’ arguments, Dr. Saed does not have to bridge the gap between the

    conclusions that he reached in his experiment and human causation. He does not

    have to do animal studies or replicate his results in vivo as Defendants proclaim. 163

    Nor does a failure on his part to conduct animal studies implicate a failure to follow

    protocol, generally, or as it specifically relates to his experiment. More importantly,

    neither Dr. Saed’s publication nor the opinions expressed in his expert report are

    based solely on the findings in his experiment. Instead, Dr. Saed relies upon

    conclusions he has reached in his experiment, other experiments that he has




    160
       Reference Manual on Scientific Evidence, Fed. Judicial Ctr., 592 (3d ed. 2011)
    (hereinafter Ref. Man.) at 623, 674.
    161
          Id. at 564.
    162
          Id. at 564-565.
    163
          Defs. Mem. at 57.

                                               48
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 56 of 65 PageID: 55548




    conducted, his professional experience and the body of literature related to talcum

    powder products to formulate his opinions.

             Defendants cite to Wessmann v. Gittens, 160 F.3d 790 (1st Cir. 1998) to

    support their underlying premise that Dr. Saed is required to conduct animal.

    However, Wessmann is easily distinguishable from the present matter. In

    Weissmann, the court excluded testimony where the expert conceded that the data

    he used was not of the quality necessary to satisfy the methodological rigors required

    by his discipline. 164 In contrast, as a molecular biologist, the data obtained by Dr.

    Saed satisfies the methodological quality of his discipline and is thus reliable.

             Defendants’ arguments that Dr. Saed’s data does not support his conclusions

    is not an appropriate basis for the exclusion of his opinions. The trial court is not

    empowered “to determine which of several competing scientific theories has the best

    province.” 165 Instead, our inquiry focuses on principles and methodology and not on

    the conclusions they generate. The analysis of the conclusions themselves is for the

    trier of fact when the expert is subjected to cross-examination. 166 As long as the

    expert’s testimony falls within “the range where experts may reasonably differ,” then




    164
          See Wessmann, 160 F.3d at 805.
    165
        Milward v. Acuity Specialty Prod. Grp., Inc., 639 F.3d 11, 15 (1st Cir. 2011)
    (internal quotation marks and citations omitted).
    166
          Kannankeril v. Terminix Int'l, Inc., 128 F.3d 802, 807 (3d Cir. 1997).

                                               49
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 57 of 65 PageID: 55549




    it is up to the jury to decide among the competing views. 167 Finally, the trial court

    does not have to focus on the conclusions the expert’s methodologies create because

    that is a job for the jury. 168



           C. DEFENDANTS’ ARGUMENT THAT THE PEER-REVIEW
              PROCESS SURROUNDING DR. SAED’S MANUSCRIPT
              WARRANTS EXCLUSION IS MISPLACED




    167
        Kumho Tire Co. v. Carmichael, 526 U.S. 137, 153, 119 S. Ct. 1167, 143 L. Ed.
    2d 238 (1999); In re: Tylenol (Acetaminophen) Mktg., Sales Practices, & Prod. Liab.
    Litig., No. 2436, 2016 WL 4039286, at *2 (E.D. Pa. July 28, 2016) (“Fed. R. Evid.
    702 and Daubert put their faith in an adversary system designed to expose flawed
    expertise.”); United States v. Mitchell, 365 F.3d 215, 244–45 (3d Cir. 2004)
    (citations omitted) (“As long as an expert's scientific testimony rests upon ‘good
    grounds, based on what is known,’ it should be tested by the adversary process—
    competing expert testimony and active cross–examination—rather than excluded
    from jurors' scrutiny for fear that they will not grasp its complexities or satisfactorily
    weigh its inadequacies.”); In re Urethane Antitrust Litig., 166 F. Supp. 3d 501
    (D.N.J. 2016) (“in serving the “gatekeeper function” and assessing the reliability of
    an expert's methodology, the Court must be mindful that in order to be admissible,
    a scientific method need not be the “best” method or one that is demonstrably
    correct. “Rather, the test is whether the ‘particular opinion is based on valid
    reasoning and reliable methodology.’)
    168
        See Kannankeril, 128 F.3d at 807 (“Our inquiry focuses on principles and
    methodology and not on the conclusions they generate. The analysis of the
    conclusions themselves is for the trier of fact when the expert is subjected to cross-
    examination.”) (citations omitted); In re Actos (Pioglitazone) Prod. Liab. Litig.,
    2014 WL 60384, at *8 (W.D. La. Jan. 7, 2014) (“an expert can and does exercise his
    or her judgment and if he or she gives reasons for that decision and a full explanation
    for those choices, disagreement with those choice becomes a matter for the trier of
    fact.”).

                                               50
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 58 of 65 PageID: 55550




                   1.    Dr. Saed’s Conflict Disclosures Met All Necessary Disclosure
                         Requirements

             Faced with the reality that Dr. Saed has presented four abstracts based upon

    his research, his manuscript has been reviewed and accepted for publication in peer-

    reviewed journals, posters of the research have been presented at prestigious

    women’s health conferences, and his research data has been reviewed for inclusion

    in a book chapter, Defendants feebly argue that Dr. Saed’s opinions should be

    excluded because the peer-review process was irregular. 169 Defendants’ argument is

    both factually and legally incorrect and should carry not weight.

             As previously noted, Defendants’ experts acknowledge that roughly two

    dozen independent professionals have looked at and reviewed Dr. Saed’s research. 170

    None of the researchers have questioned the nature of the funding or the impact that

    funding may have had on the results of Dr. Saed’s work. Further, at no time did Dr.

    Saed “misrepresent” the nature of his funding as posited by Defendants. Instead, in

    each step of the various peer-review processes, Dr. Saed was transparent and

    provided the conflict information that was required. For example, in the manuscript

    submitted to Reproductive Sciences Dr. Saed disclosed that he “acted as a consultant



    169
          Defs. Mem. at 75-79.
    170
       See Birrer Dep. at 387:4-392:11 (Dr. Birrer acknowledging that 20 to 30 people
    have likely reviewed Dr. Saed’s research).

                                              51
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 59 of 65 PageID: 55551




    regarding this topic for a fee.” 171 As noted by Dr. Saed, that was sufficient language

    as required by the journal. 172 Where Dr. Saed was not required to disclose conflicts

    he did not do so. 173 When Dr. Saed was unsure of whether and how to disclose a

    conflict he inquired as to what the appropriate process would be. 174 It is because Dr.

    Saed abided by the various requirements when submitting his research for review

    that Defendants’ dissatisfaction with the disclosures is of no affect. 175

             Defendants’ arguments concerning Dr. Saed’s financial interests are, at best,

    an attack on the weight of the evidence, not its admissibility. “Admissibility

    decisions focus on the expert’s methods and reasoning; credibility decisions arise

    after admissibility has been determined.” 176 Dr. Saed’s research was subject to full


    171
          See Saed Publication at 12.
    172
          See Saed Dep. at 142:12-18; 143:15-20; 145:2-18.
    173
       Id. at 474:9-14; 477:1-5 (testifying that at time of submission of abstracts conflict
    disclosure was not required).
    174
      Id. at 479:15-480:21; and Saed Dep. Exhibit 29 (testimony and e-mail exchange
    wherein Dr. Saed inquired as to whether specific financial disclosures had to be
    made).
    175
       In the final version of the published manuscript the Declaration of Conflicting
    Interests stated: “The author(s) declared the following potential conflicts of interest
    with respect to the research, authorship, and/or publication of this articles: Dr. Saed
    has served as a paid consultant and expert witness in the talcum powder litigation.”
    See Saed Publication at 9.
    176
       Kannankeril, 128 F.3d at 806. The cases cited by Defendants in support of their
    position are inapposite. In Wade-Greaux, 874 F. Supp. 1441, for example, although
    the court noted the expert’s failure to disclose conflicts of interest, it was not the
    basis for excluding the expert’s opinions. In In re Garlock Sealing Techs., LLC, 504
    B.R. 71, 79 (Bankr. W.D.N.C. 2014), the court noted issue with that fact it was not
                                               52
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 60 of 65 PageID: 55552




    peer review and where, as required, contained the necessary disclosures of potential

    conflicts of interest. Dr. Saed is not new to publishing scientific literature as he has

    published over 130 scientific articles over the course of his career. 177 Dr. Saed has

    acknowledged that he did not state the “side” he consulted for but, based upon his

    experience with publishing a plethora of research papers, he did not deem it

    necessary. Furthermore, the language used in publication disclosures is typically

    chosen by the publisher/editors, and receives the same scrutiny as the article itself.

    In short, there is simply nothing improper or misleading about the disclosures

    provided by Dr. Saed.

                   2.     The review of Dr. Saed’s work by Gynecologic Oncology does
                          not warrant exclusion

             Defendants make much of the fact that Dr. Saed submitted his work to

    Gynecologic Oncology for consideration but it was not accepted. Based upon the

    comments of two reviewers Defendants argue that Dr. Saed’s work was not accepted

    by relevant peers. 178 Defendants’ argument makes no sense.

             As previously noted, Dr. Saed’s work has been reviewed by no fewer than

    twenty reviewers and editors. It has been the subject of four abstracts, published in



    disclosed that materials used by the expert had been provided with funding by
    counsel, however, that was not the basis upon which the court excluded the opinions.
    177
          See Saed Report at 3.
    178
          See Defs. Mem. at 79 (emphasis in original).

                                              53
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 61 of 65 PageID: 55553




    a peer-reviewed medical journal, and presented at women’s health conferences. Far

    from being irrelevant, the journal where Dr. Saed’s manuscript was published,

    Reproductive Sciences, “publishes original research and reviews, editorials, and

    position papers in all aspects of reproductive biology and its translation to clinical

    medicine,     including   the   disciplines    of…   gynecologic/reproductive    tract

    oncology.” 179 In their attempts to argue that Dr. Saed’s work should be excluded

    Defendants ignore that the reviewers from Gynecologic Oncology, reviewers the

    Defendants hold in such high regard, commented that “[o]verall this is a well written

    manuscript and the conclusions are supported by the results.” 180 The same

    reviewers also stated that “the authors compellingly show changes in several key

    enzymes regulating redox potential in cells exposed to talc.” 181 Possibly the most

    significant comment was that “the significance of this study would be greatly

    enhanced if a mouse model corroborated the cell line findings” 182 The comment

    confirms that Dr. Saed’s experiment did, in fact, have cell line findings to be

    corroborated. 183 Ironically, despite not knowing the identity of the two reviewers




    179
          See Exhibit D (emphasis added).
    180
          See Exhibit M (emphasis added).
    181
          Id.
    182
          Id.
    183
       Defendants’ experts confirmed the same. See Birrer Dep. at 341:12-17 (“Q. But
    the statement is ‘The significance of this study would be greatly enhanced if a mouse
                                              54
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 62 of 65 PageID: 55554




    from Gynecologic Oncology, Defendants simply assume and argue that their

    comments must trump the comments of all others who have reviewed and approved

    of Dr. Saed’s work. There is simply no basis for Defendants’ position.

    III.   CONCLUSION

           Dr. Saed has conducted original research relevant to the issues currently

    before this Court. The research has been peer-reviewed, published in multiple

    medical abstracts, and also published in a peer-reviewed medical journal. It has been

    reviewed and scrutinized by many independent editors and reviewers, none of whom

    identified methodological issues with his work. Dr. Saed’s experiment and the

    scientific information he relies upon to support his opinions in the matter satisfy

    Daubert requirements. For the foregoing reasons Defendants’ motion to exclude the

    expert opinions of Dr. Ghassan Saed should be denied.



    Date: May 29, 2019                     Respectfully submitted,

                                           /s/ Michelle A. Parfitt
                                           Michelle A. Parfitt
                                           ASHCRAFT & GEREL, LLP
                                           1825 K Street, NW, Suite 700
                                           Washington, DC 20006
                                           Tel: 202-783-6400
                                           Fax: 202-416-6392
                                           mparfitt@ashcraftlaw.com


    model corroborated the cell line findings.’ So there were cell line findings to be
    corroborated; correct? A. Correct.”).

                                             55
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 63 of 65 PageID: 55555




                                         /s/ P. Leigh O’Dell
                                         P. Leigh O’Dell
                                         BEASLEY, ALLEN, CROW, METHVIN,
                                         PORTIS & MILES, P.C.
                                         218 Commerce Street
                                         Montgomery, AL 36104
                                         Tel: 334-269-2343
                                         Fax: 334-954-7555
                                         Leigh.odell@beasleyallen.com

                                         Plaintiffs’ Co-Lead Counsel

                                         /s/ Christopher M. Placitella
                                         Christopher M. Placitella
                                         COHEN, PLACITELLA & ROTH, P.C.
                                         127 Maple Avenue
                                         Red Bank, NJ 07701
                                         Tel: 732-747-9003
                                         Fax: 732-747-9004
                                         cplacitella@cprlaw.com
                                         Plaintiffs’ Liaison Counsel
    PLAINTIFFS’ EXECUTIVE COMMITTEE:
    Warren T. Burns                               Richard Golomb
    BURNS CHAREST LLP                             GOLOMB & HONIK, P.C.
    500 North Akard Street, Suite 2810            1515 Market Street, Suite 1100
    Dallas, TX 75201                              Philadelphia, PA 19102
    Tel: 469-904-4551                             Tel: 215-985-9177
    Fax: 469-444-5002                             rgolomb@golombhonik.com
    wburns@burnscharest.com

    Richard H. Meadow                             Hunter J. Shkolnik
    THE LANIER LAW FIRM PC                        NAPOLI SHKOLNIK PLLC
    6810 FM 1960 West                             360 Lexington Avenue, 11thFloor
    Houston, TX 77069                             New York, NY 10017
    Tel: 713-659-5200                             Tel: 212-397-1000
    Fax: 713-659-2204                             hunter@napolilaw.com
    richard.meadow@lanierlawfirm.com



                                          56
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 64 of 65 PageID: 55556




    PLAINTIFFS’ STEERING COMMITTEE:

    Laurence S. Berman                         Timothy G. Blood
    LEVIN, SEDRAN & BERMAN LLP                 BLOOD, HURST & O’REARDON,
    510 Walnut Street, Suite 500               LLP
    Philadelphia, PA 19106                     501 West Broadway, Suite 1490
    Tel: 215-592-1500                          San Diego, CA 92101
    Fax: 215-592-4663                          Tel: 619-338-1100
    lberman@lfsblaw.com                        Fax: 619-338-1101
                                               tblood@bholaw.com

    Sindhu S. Daniel                           Jeff S. Gibson
    BARON & BUDD, P.C.                         WAGNER REESE, LLP
    3102 Oak Lawn Avenue, #1100                11939 N. Meridian St.
    Dallas, TX 75219                           Carmel, IN 46032
    Tel: 214-521-3605                          Tel: (317) 569-0000
    Fax: 214-520-1181                          Fax: (317) 569-8088
    sdaniel@baronbudd.com                      jgibson@wagnerreese.com

    Kristie M. Hightower                       Daniel R. Lapinski
    LUNDY, LUNDY, SOILEAU & SOUTH,             MOTLEY RICE LLC
    LLP                                        210 Lake Drive East, Suite 101
    501 Broad Street                           Cherry Hill, NJ 08002
    Lake Charles, LA 70601                     Tel: 856-667-0500
    Tel: 337-439-0707                          Fax: 856-667-5133
    Fax: 337-439-1029                          dlapinski@motleyrice.com
    khightower@lundylawllp.com

    Victoria Maniatis                          Carmen S. Scott
    SANDERS PHILLIPS GROSSMAN, LLC             MOTLEY RICE LLC
    100 Garden City Plaza, Suite 500           28 Bridgeside Boulevard
    Garden City, NJ 11530                      Mount Pleasant, SC 29464
    Tel: 516-640-3913                          Tel: 843-216-9162
    Fax: 516-741-0128                          Fax: 843-216-9450
    vmaniatis@thesandersfirm.com               cscott@motleyrice.com



                                        57
Case 3:16-md-02738-MAS-RLS Document 9875 Filed 05/29/19 Page 65 of 65 PageID: 55557




    Eric H. Weinberg                           Richard L. Root
    THE WEINBERG LAW FIRM                      MORRIS BART, LLC
    149 Livingston Avenue                      Pan America Life Center
    New Brunswick, NJ 08901                    601 Poydras St., 24th Fl.
    Tel: 732-246-7080                          New Orleans, LA 70130
    Fax: 732-246-1981                          Tel. 504-525-8000
    ehw@erichweinberg.com                      Fax: 504-599-3392
                                               rroot@morrisbart.com

    Christopher V. Tisi
    LEVIN PAPANTONIO
    316 South Baylen St.
    Pensacola, FL 32502
    (850) 435-7000
    ctisi@levinlaw.com




                                        58
